               Case 8:19-bk-12325-TA                          Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                                   Desc
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     F1ll in this information to 1dent1fy your case·

     United States Bankruptcy Court for the:
         Central District of California

     Case number (If known): ------------Chapter you are filing under:
                                                                         liZf   Chapter? ·
                                                                         CJ     Chapter 11
                                                                         0      Chapter 12
                                                                         0      Chapter 13                                                        1:1 Check if this is an
                                                                                                                                                     amended filing


    Official Form 101
    Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                12/15
    The bankruptcy forms use you and Debtor 1 'to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
    joint case-and in joint cases, these forms use you to ask for information from both debtors. For eXample, if a form asks, "Do you own-a car,"
    the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the f9rm uses Debtor 1 and
     Debtor 2 to ~istinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as comp~te and accurate as possible. If two married people are filing together, both are-equally responsible for sUpplying correct
    information. If more space is needed, attach a separate sheet tO this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


                   Identify Yourself



    1. Your full name

           Write the name that is on your
                                            Thanh                                                                    Ngocyen
           government~issued     picture
                                            First name                                                               First name
           identification (for example,
           your driver's license or         Van                                                                      Thi
           passport).                       Middle name                                                              Middle name

           Bring your picture               Nguyen                                                                   Ph am
           identification to your meeting   last name                                                                last name
           with the trustee.
                                            Suffix (Sr., Jr., ll, Ill)                                               Suffix (Sr., Jr., II, Ill)




    2.     All other names you
I          have used in the last 8          First name                                                               First name
!          years                                                                                        ii:j
                                                                                                            '
           Include your married or          Middle name                                                              Middle name
           maiden names.
                                            Last name                                                                last name
                                                                                                       ',;<~

                                            First name                                                               First name


                                            Middle name
                                                                                                      :i:;:          Middle name


                                            Last name                                                                Last name
                                                                                                      ';;       ::




    3.     Only the last 4 digits of                                _1___0___
                                                                            8 ___
                                                                                0_
           your Social Security
                                            XXX           XX -                                                       XXX           XX -      _1___Q_ __8__5_
           number or federal                OR                                                                       OR
           Individual Taxpayer
           Identification number            9xx- xx                                                                  9 XX      -   XX
           (ITIN)

    Official Form 101                                     Voluntary Petition for Individual~ Filing for Bankruptcy                                              page 1
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Debtor 1     Thanh Van Nguyen                                                                          Case number (if k n o w n ) > - - - - - - - - - - - - - - -
              First Name   Middle Name                Last Name




4.   Any business names
     and Employer                        ~ I have ilot used any business names or EINs.                     l;ll1 have not used any business names or EINS.
     Identification Numbers
     (EIN) you have used in
     the last 8 years                    Business name                                                      Business name

     Include trade names and
     doing business as hames             Business name                                                      Business name




                                                                                                            EIN




5.   Where you live                                                                                         If Debtor 2 lives at a different address:


                                         14300 Clinton Street, Space 103
                                         Number           Sb"eet                                            Number          Street




                                         Garden Grove                              CA       92843
                                         City                                     State     ZIP Code        City                                     State     ZIP Code

                                         Orange
                                         County                                                             County


                                         If your mailing address is different from the one                  If Debtor 2's mailing address is different from
                                         above, fill it in here. Note that the court will send              yours, fill it in here. Note that the court will send
                                         any notices to you at this mailing address.                        any notices to this mailing address.



                                         Number           Street                                            Number          Street



                                         P.O. Box                                                            P.O. Box



                                         City                                     State     ZIP Code        City                                      State    ZIP Code




s. Why you are choosing                  Check one:                                                         Check one:
   this district to file for
   bankruptcy                            &Zi Over the last 180 days before filing this petition,            ~ Over the last 180 days before filing this petition,
                                                I have lived in this district longer than in any                   I have lived in this district longer than in any
                                                other district.                                                    other district.

                                         D      I have another reason. Explain.                             D      I have another reason. Explain.
                                                (See 28 U.S.C. § 1408.)                                            (See 28 U.S.C. § 1408.)




Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
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 Debtor 1      Thanh Van Nauven                                                                         Case number ( l f k n a v m ) > - - - - - - - - - - - - - -
               First Name   Middle Nam..,               Last Name




             Tell the Court About Your Bankruptcy Case


 1. The chapter of the                      Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
       Bankruptcy Code you                  for Bankruptcy(Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                            lill Chapter 7
                                            D Chapter 11

                                            D Chapter 12

                                            D Chapter 13


. a.   How you will pay the fee             Iilli will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                   local court for more details about how you may pay. Typically, if you are paying the fee
                                                   yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                   submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                   with a pre-printed address.

                                            D I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            D I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.


  9.   Have you filed for                   lill No
       bankruptcy within the
       last 8 years?                        DYes.       District                               VVhe'n                     Case number
                                                                                                        MM'/ ·DD I YYYY

                                                        District                               Wheo                       Case number
                                                                                                        MM./ DO/YYYY

                                                        District                               When                       Case number
                                                                                                        MM/ DD/YYYY



  10. Are any bankruptcy                    lill   No
       cases pending or being
       filed by a spouse who is             DYes.       Debtor                                                            Relationship to you
       not filing this case with                         District                              Wheo                       Case number, if known
       you, or by a business                                                                            MM./DO /YYYY
       partner, or by an
       affiliate?
                                                        Debtor                                                            Relationship to you

                                                         District                              Wheo                       Case number, if known
                                                                                                        MM/ DD/YYYY



  11. Do you rent your                      lill No.     Go to line 12.
       residence?                           D Yes.       Has your landlord Obtained an eviction judgment against you and do you want to stay in your
                                                         residence?

                                                         D    No. Go to line 12.
                                                         D    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                              this bankruptcy petition.



  Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1        Thanh Van Nguyen                                                                          Case number ( • ! k n o w n ) ' - - ' - - - - - - - - - - - - -
                First Name        Middle Name             Last Name




              Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 Ill No. Go to Part 4.
      of any full- or part-time
      business?                                 l:l Yes. Name and location of business
      A sole proprietorship is a
      business· you operate as an
                                                         Name of business, if any
      individual, and is not a
      S!3parate legal entity such as
      a corporation, partnership, or
      LLC.
                                                         Number         Street
      lf you have more than one
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.
                                                          City                                                                   ZIP Code



                                                         Check the appropriate box to describe your business:
                                                         D     Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                         D     Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))

                                                         D     Stockbroker (as defined in 11 U.S.C. § 101 (53A))

                                                         D     Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                         l:l   None of the above


 13. Are you filing under                       If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtOr, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations. cash~flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
      are you a small business
      debtor?
                                                D   No. 1 am not filing under Chapter 11.
      For a definition of small
      business debtor, see                      [J No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 u.s.c. § 101(510).                              the Bankruptcy Code.

                                                D   Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


              Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


; 14. Do you own or have any                    Ill No
      property that poses or is
      alleged to pose a threat                  D   Yes. What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                           If immediate attention is needed, why is it n e e d e d ? - - - - - - - - - - - - - - - - -
      immediate attention?
      For 'example, do you own
      perishable.goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                          Where is the property?     ==:::---==--------------------
                                                                                     Number Street




                                                                                     City                                            State      7zi"'P"c"o"de;;-----


 Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                      page 4
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Debtor 1         Thanh Van Nauyen                                                                          Case number (ifknOIIIn) _ _~------------
                First Name     Middle Name             Last Name




              Explain Your Efforts to Receive a Briefing Abo,ut Credit Counseling


15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                               You must check one:
      counseling.                            Gift received a briefing from an approved credit                  lia1 received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                    counseling agency within the 180 days before I
      The law requires that you                  filed this bankruptcy petition, and I received a                  filed this bankruptcy petition, and I received a
      receive a briefing about credit            certificate of completion.                                        certificate of completion.
      counseling before you file for
                                                 Attach a copy of the certificate and the payment                  Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                 plan, if any, that you developed with the agency.                 plan, if any, that you developed with the agency.
      truthfully check one of the·
      following choices. If you              D   I received a briefing from an approved.credit                 D   I received a briefing from an approved credit
      cannot do so, you are not                  counseling agency within the 180 days before I                    counseling agency within the 180 days before I
      eligible to file.                          flied this bankruptcy petition, but I do not have a               filed this bankruptcy petition, but I do not have a
                                                 certificate of completion.                                        certificate of completion.
      If you file anyway, the court                                                                                Within 14 days after you file this bankruptcy petition,
                                                 Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you                 you MUST file a cOpy of the certificate and payment               you MUST file a copy of the certificate and payment
      will lose whatever filing fee              plan, if any.                                                     plan, if any.
      you paid, and your creditors
      can begin collection activities        D   I certify that I asked for credit counseling                  D   I certify that I asked for credit counseling
      again.                                     services from an approved agency, but was                         services from an approved agency, but was
                                                 unable to obtain those services during the 7                      unable to obtain those services during the 7
                                                 days after I made my request, and exigent                         days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                     circumstances merit a 30-day temporary waiver
                                                 of the requirement                                                of the requirement.
                                                 To ask for a 30-day temporary waiver of the                       To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                   requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing, why                 what efforts you made to obtain the briefing, why
                                                 you were unable to obtain it before you filed for                 you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                        bankruptcy, and what exigent circumstances
                                                 required you to· file this case.                                  required you to file this case.
                                                 Your case may be dismissed if the court is                        Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                dissatisfied with your reasons for not receiving a
                                                 briefing before you filed for bankruptcy. ·                       briefing before you filed for bankruptcy.
                                                 If the court is satisfied with your reasons, you must             If the court is satisfied with your reasons, you must
                                                 still receive a briefing within 30 days after you file.           still receive a briefing within 30 days after you file.
                                                 You must file a certificate from the approved                     You must file a certificate from. the approved
                                                 agency, along with a copy of the payment plan you                 agency, along with a copy of the payment plan you
                                                 developed, if any. If you do not do so, your case                 developed, if any. If you do not do so, your case
                                                 may be dismissed.                                                 may be dismissed.
                                                 Any extension of the 30-day deadline is granted                   Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                  only for cause and is limited to a maximum of 15
                                                 days.                                                             days.

                                             D   I am not required to receive a briefing about                 D   I am not required to receive a briefing about
                                                 credit counseling because of:                                     credit counseling because of:

                                                 D   Incapacity.    I have a mental illness or a mental            D    Incapacity.   I have a mental illness or a mental
                                                                    deficiency that makes me                                          deficiency that makes me
                                                                    incapable of realizing or making                                  incapable of realizing or making
                                                                    rational decisions,about finances.                                rational decisions about finances.
                                                 D   Disability.    My physical disability causes me               .D   Dis~bility.   My physical disability causes me
                                                                    to be unable to participate in a                                  to be unable to participate in a
                                                                    briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                    through the internet, even after I                                through the internet, even after l
                                                                    reasonably tried to do so.                                        reasonably tried to do so.
                                                 D   Active duty. I am currently on active military                D    Active duty. I am currently on active military
                                                                  duty in a military combat zone.                                    duty in a military combat zone.
                                                 If you belie.ve you are not required to receive a                 If you believe you are not reqUired to receive a
                                                 briefing about credit counseling, you must file a                 briefing about credit co.unseling, you must file a
                                                 motion for waiver of credit counseling with the court.            motion for waiver of credit counseli~g with the court.




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     Debtor 1         Thanh Van Nguyen                                                                        Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name    Middle Name              Last Name




                    Answer These Questions for Reporting Purposes

                                                 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
     to. What kind of debts do                        as "incurred by an individual primarily for a personal, family, or household purpose."
           you have?
                                                      0    No. Go to line 16b.
                                                      1;:1 Yes. Go to line 17.
                                                 16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                      money for a business or investment or through the operation of the business or investment.

                                                      0    No. Go to line 16c.
                                                      CJ   Yes. Go to'line 17.

                                                 16c. State the type of debts you owe that are not consumer debts or business debts.



     11. Are you filing under
         Chapter 7?                              D   No. I am not filing under Chapter 7. Go to'line 18.

           Do you estimate that after ~Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
           any exempt property is           administrative expenses are paid that funds wm be available to distribute to unsecured creditors?
           excluded and                     !ill No
           administrative expenses
           are paid that funds will be                     0    Yes
           available for distribution
           to unsecured creditors?

     18.   How many creditors do                 ~ 1-49                                   D   1,ooo-5,ooo                             0     25,001-50,000
           you estimate that you                 D 50-99                                  0   5,001-10,000                            0     50,001-100,000
           owe?                                  D 100-199                                D   1o,oo1-25.ooo                           D     More than 100,000
                                                 0 200-999
~------------~~~----------------~-----------------~
                  ~ $0-$50.000
i 19.
  How much do you                                                                         0   $1,000,001-$10 million                  0     $500,000,001-$1 billion·
           estimate your assets to               0   $50,001-$100,000                     0   $10,000,001-$50 million                 0     $1,000,000,001-$10 billion
           be worth?                             0   $100,001-$500,000                    0   $50,000,001'$100 million                0     $10,000,000,001-$50 billion
                                                 0   $500,001-$1 million                  0   $100,000,001-$500 million               D     More than $50 billion

i- 20. How much do you                           0 .$0-$50,000                            0   $1,000,001-$10 million                  0     $500,000,001-$1 billion
·'         estimate your liabilities             0 $50,001-$100,000                       0   $10,000,001-$50 million                 0     $1,000,000,001-$10 billion
           to be?                                ~ $100,001-$500,000                      0   $50,000,001-$100 million                0     $10,000,000,001-$50 billion
                                                 0 $500,001-$1 million                    0   $100,000,001-$500 million.              D     More than $50 billion
                           Below

                                                 I have examined this petition, and I declare under penalty of perjury that the information provided is true and
     For you                                     correct.
                                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12, or 13
                                                 of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                 under Chapter 7.
                                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                 this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection

                                                 18 u.s.c.     §'
                                                 with a bankrup~ case can result in fines up to $250,000, or imprisOnment for up to 20 years, or both.
                                                                    712, :341, }519, and 3571.                            --~l        . .
                                                 X              ty/lJU(j _/                                       X              .   d~
                                                     Signatu~D"etlto~
                                                                                  7

                                                                                                                      Signature of   DebQ; 2
                                                     Execut:d on        £:
                                                                        MM
                                                                             J:
                                                                             I DD
                                                                                                                      Executed on      (:
                                                                                                                                     MM I DD
                                                                                                                                             I I 4 / [C(
                                                                                                                                                   /YYYY


     Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
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Debtor 1      Thanh Van Nguven                                                                     Case number(lfknoW11)_ _ _ _ _ _ _ _ _ _ _ _ __
              First Name   Middle Name             Last Name




                                         1, the attorney for the debtor(s) named in this petition, declare that 1have informed the debtor(s) about eligibility
For your attorney, if you are            to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                       available under each chapter for.which the person is eligible. I also certify that I have delivered to the debtor(s)
                                         the notice required by 1.1 U.S.C. § 342(b) and. in a case in which§ 707(b)(4)(D) applies, certify that I have no
If you are not represented               knowledge after              that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                                                                                            Date
                                                                                                                            MM



                                             Kathy T. Luong, Esq.
                                             Printed name

                                             Law Offices of Kathy T. Luong, Esq.
                                             Firm name

                                             10141 Westminster Avenue Suite 201
                                             Number      Street




                                             Garden Grove                                                   CA              92843
                                             c~.~.cy~~~~~~-------------Cism~re----"Z~IP~C~o~d~e---------C--




                                             Conffict phone (714) 590-3738                                  Email address   kathy@ktulaw .com



                                             253044                                                         CA
                                             Bar number                                                     State




Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
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                                                 Certificate Number: 16199-CAC-CC-032888277

                                               lllllllllllllllllllllllllllllllllllllllllllllllllllllllllllllllllll
                                                                    16199-CAC-CC-032888277




                     CERTIFICATE OF COUNSELING


 I CERTIFY that on May 25, 2019, at 3:16 o'clock PM EDT, Thanh Van Nguyen
 received from CC Advising, Inc. , an agency approved pursuant to 11 U.S. C. 111
 to provide credit counseling in the Central District of California, an individual [or
 group] briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   May 29, 2019                            By:        Is/Jonathan Claussen for AI Layacan


                                                 Name: AI Layacan


                                                 Title:     Credit Counselor




 * Individuals y;ho wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See II U.S.C. 109(h) and 521(b).
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                                                Certificate Number: 16199-CAC-CC-032888276

                                               1111111111111111111111111111111111111111111111111111111111111111111
                                                                    16199-CAC-CC-032888276




                     CERTIFICATE OF COUNSELING


 I CERTIFY that on May 25, 2019; at 3:16 o'clock PM EDT, Ngoc Yen Thi Pham
 received from CC Advising, Inc. , an agency approved pursuant to 11 U.S.C. 111
 to provide credit counseling in the Central District of California, an individual [or
 group] briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   May 29, 2019                           By:        Is/Jonathan Claussen for AI Layacan


                                                Name: Al Layacan


                                                Title:     Credit Counselor




 * Individuals who wish to file a bankruptcy case under title II of the United States Bankruptcy
             '
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See II U.S.C. 109(h) and 521(b).
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                               STATEMENT OF RELATED CASES
                            INFORMATION REQUIRED BY LBR 1015-2
             UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1.     A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
       against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
     . copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
       corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
       and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
       assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
       included in Schedule A that was filed with any such prior proceeding(s).)
        None.



2.    (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
      Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
      debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the ·
      debtor is a general partner, general partner of the debtor, or person in cOntrol of the debtor as follows: (Set forth the
      complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
      and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
      any real property included in Schedule A that was filed with any such prior proceeding(s).)
       None.



3.    (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
      previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
      of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
      of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
      or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
      such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
      still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A
      that was filed with any such prior proceeding(s).)
       None.



4.    (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
      been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such
      prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
      pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A
      that was filed with any such prior proceeding(s).)
       None.


I declare, under penalty of perjury, that the foregoing is true and correct.



Executed at Garden Grove                      , California
                                                                                         Signature of Debtor
                                                                                                  .--......., J1 I   j   ((__ _
                                                                                                           vvvl             =
                                                                                         Signature of Jointl5Jebtor


            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                            Page 1                   F 1015-2.1.STMT.RELATED,CASES
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 F11l m thiS mformat1on to identify your case.


 Debtor 1             Thanh Van Nguyen
                      First Name                  Middle Name                   LastN~me


 Debtor 2             Ngocyen Thi Pham
 (Spouse, iffiling)   First Name                  Middle Nama                   Last Nama


 United States Bankruptcy Court for the: Central District of California

 Case number                                                                                                                                                        0    Check if this is an
                      (If known)                                                                                                                                         amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15
Be as complete-and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check' the box at the top of this page.


               Summarize Your Assets




1. Schedule AlB: Property (Official Form 106NB)
   1a. Copy line 55, Total real estate, from Schedule AlB ........................................................... ..                                            $ --'2=2"-',2=9-=-8."-0.:_0


    1b. Copy line 62, Total personal property, frOm Schedule AlB .................................... ..                                                            $ _ _1'-"2"',3""9""6"'9"'. -5

    1c. Copy line 63, Total of all property on Schedule AlB ..... ................... ..
                                                                                                                                                                    $          34,694.95

               Summarize Your Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1 060)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D                                               $_     _;2::.:8:.!.,4:.::8;.:_7:.::.0.::_0

3. Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                    $                          0.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF                                 ........................
    3b. Copy the total_ claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF ...                     ..............................               120,709.00
                                                                                                                                                                +   $


                                                                                                                            Your total liabilities                  $       149,196.00


               Summarize Your Income and Expenses


4. Schedule 1: Your Income (Official Form 1061)
    Copy your combined monthly income from line 12 of Schedule I ......................................................................................             $ _ _1"-,8'-'0-'-8'8=.2
                                                                                                                                                                                       -'.

s. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J                                                                                                          $ _ _3-'-.,3_6_6._21_




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                                               page 1 of2
               Case 8:19-bk-12325-TA                      Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                         Desc
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   Debtor 1          Thanh Van Nguyen                                                             Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ __
                      First Name     Middle Name       Last Name




                     Answer These Questions for Administrative and Statistical Records

   e. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        C:l' No. You have nothing to report on this part ofthe form. Check this box and submit this form to the court with your other schedules.
        GZI    Yes


   7. What kind of debt do you have?

        liZI   Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
               family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        CJ YOur debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
               this form to the court with your other schedules.



   a.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
        Form 122A-1 Line 11; OR, Form 1228 Line 11; OR. Form 1.22C-1 Line 14.                                                           $ ----'1.!.::,9:::2;:.:3..::.00::...




   9. Copy the following special categories of claims from Part 4, line 6 of SchedUle ElF:




        9a. Domestic support obligations (Copy line 6a.)                                                    $                0.00

        9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $                0.00

        9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                0.00

        9d. Student loans. (Copy line 61.)                                                                  $         90,724.00

        9e. Obligations arising out of a sep~ration agreement or divorce that you did not report as         $                0.00
            priority claims. (Copy line 6g.)

        9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)          +$                   0.00

        9g. Total. Add lines 9a through 9f.                                                                 $         90,724.00




Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of2
              Case 8:19-bk-12325-TA                            Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                              Desc
                                                               Main Document    Page 13 of 66
Ftll m thts tnformatlon to 1denttfy your case and thts filmg·


Debtor 1              Thanh Van Nguyen
                      F!rot Name                 Middle Name                 Last Name

Debtor 2               Ngocyen Thi Ph am
(Spouse, if filing)   Fiflll Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Central District of California

Case number
                                                                                                                                                   Q Check if this is an
                                                                                                                                                       amended filing

Official Form t06AIB
Schedule AlB: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best Be as complete and accurate as possible. If two married people are filing together, both a:re equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

                Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any resid&nce, buildiilg, land, or similar property?

    D     No. Go to Part 2.
    iZI Yes. Where is the property?
                                                                     What is the property? Check all that apply.
                                                                     0      Single-fari"lily home
               14300 Clinton Street, Space 103
       1.1.
              Street address, if available, or other description
                                                                     D      Duplex or multi-unit building
                                                                     D      Condominium or cooperative                    Current value of the         Current value of the
                                                                     Iii    Manufactured or mobile home                   entire property?             portion you own?
                                                                     1:J    Land                                          $          22,298.00         $     22,298.00
               Garden Grove                    CA       92843
                                                                     D      Investment property

              City                            State     ZIP Code
                                                                     D      Timeshare                                     Describe the nature of your ownership
                                                                     D      Other _ _ _ _ _ _ _ _ __                      interest (such as fee simple, tenancy by
                                                                                                                          the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.

               Orange                                                0     Debtor 1 only
              County                                                 D     Debtor 2 only
                                                                     lif Debtor 1 and Debtor 2 only                       1iZI   Check if this is community property
                                                                                                                                 (see instructions)
                                                                     D     At least one of the debtors and another
                                                                     Other information you wish to acl!l..@bout this ite!!ll.t-such as. local
                                                                                                     ~..':!:u.OL-:..JJ'-'l.,lc:-"'u.:>""='------
                                                                     property identification number: ..
    If you own or have more than one, list here:
                                                                    What Is the property? Check all that apply.
                                                                    D      Single-family home
       1.2.                                                         D      Duplex Or multi-unit building
              Street address, if available, or other description
                                                                    0      Condominium or ·cooperative                    Current value of the         Current value of the
                                                                    0      Manufactured or mobile home                    entire property?             portion you own?
                                                                    D      Land
                                                                                                                          $·----~
                                                                    D      Investment property
                                                                    D      Timeshare                                      Describe the nature of your ownership
              City                            State      ZIP Code                                                         interest (such as fee simple, tenancy by
                                                                    D      Other _ _ _ _ _ _ _ _ _ __
                                                                                                                          the ·entireties, .or a life estate), if known.
                                                                    Who has an interest In the property? Check one.
                                                                    0    Debtor 1 only
              County                                                0    Debtor 2 only
                                                                    D.Debtor 1 and Debtor2.only                           D Check if this is community property
                                                                    0    At least one of the debtors and another                 (see iilstructions)

                                                                    Other information you wish to add about this item, such as local
                                                                    property identification n u m b e r : - - - - - - - - - - - - -


Official Form 1OSAIB                                                Schedule AlB: Property                                                                    page 1
             Case 8:19-bk-12325-TA                            Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                                        Desc
                    Thanh Van Nguyen
                                                              Main Document    Page 14 of 66
Debtor 1                                                                                                     Case number (If k n o w n ) • - - - , - - - - - - - - - - - -
                    First Name     Middle Nama            Last Name




                                                                      What is the property? Check all that apply.

      1.3.
                                                                      CJ   Single-family home
             Street address, if available, or other description       [J Duplex or multi-unit building
                                                                      0    Condominium or cooperative
                                                                      D    Manufactured or mobile home
                                                                                                                              $._ _ _ __                        $_ _ _ _____,
                                                                      0    Land
                                                                      D    Investment property
             City                            State      ZIP Code      D    Timeshare                                          Describe the nature of your ownership
                                                                                                                              interest (such as fee simp_le, tenanc·y by
                                                                      0    Other _ _ _ _ _ _ _ _ _ __
                                                                                                                              the entireties, or a life estate), if known.
                                                                      Who has an interest in the property? Check one.
                                                                      0    Debtor 1 ·only
              County
                                                                      D    Debtor 2 only
                                                                      D    Debtor 1 and Debtor 2 only                         1:1 Check If this is community property
                                                                                                                                   (see instructions)
                                                                      D    At least one of the debtors and another

                                                                      Other Information you wish .to add about ·this item, such as local
                                                                      property identification n u m b e r : - - - - - - - - - - - - -


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
   you have attached for Part 1. Write that number here......................................................................-. ................       +        I                              I
                                                                                                                                                                $_'_ _2_2_:._,2_9_::_8_::_.0-'-10




                Describe Your Vehicles


Do you own, lease, or have legal or equitable interest In any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehi.cle, also report it on. Schedule G: Executory Contracts and Unexplred Leases.

3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     0   No
     li2l Yes
              Make:                       Toyota                      Who has an interest In the property? Check one.

              Model:                       Camry                      0    Debtor 1 only

                                          1995                        0    Debtor 2 only
              Year:
                                                                      ~ Debtor 1 and Debtor 2 only                            Current value of the              Current value of the
              Approximate mileage:        267,591                                                                             entire property?                  portion you own?
                                                                      0    At least one of the debtors and another
              Other information:
                                                                      ~Check If this is_ community property (see
                                                                                                                              $._ _ _2::.:0:..:1.:.::.0__::_0          201.00
                                                                                                                                                                $' - - -
              [(;-;;~~;;;;:-;;~;~----------]                                                                                                                             --
                                                                           instructions)



     If you own or have more than one, describe here:

     3.2.    Make:                        Honda                       Who has an interest in the property? Check one.

             Model:                       Accord                      0    Debtor 1 only

                                          2013                        D Debtor 2 only
             Year:                                                                                                            Current value of the              Current value of the
                                                                      i;zl Debtor 1 and Debtor 2 only
             Approximate mileage:         60,880                                                                              entire property?                  portion you own?
                                                                      0    At least one of the debtors and another

                                                                                                                              $             8,028.00            $        8,028.00
                                                                      liZI Check if this is community property (see                                                 ·----'-----
                                                                           instructions)




 Official Form 106AJB                                                  Schedule AlB: Property                                                                              page 2
           Case 8:19-bk-12325-TA                      Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                                            Desc
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Debtor 1        Thanh Van Nguyen                                                                                   Case number (if k n o w n ) ' - - - - - - - - - - - - - -
                First Name       Middle Name·      Last Name




   3.3.    Make:                        Toyota                 Who has an interest in the property? Check one.

           Model:                       Camry                  D      Debtor 1 only

                                        2018                   D      Debtor 2 only
           Year:
                                                               CJ Debtor 1 and Debtor 2 only
                                        24,087
           Approximate mileage:                                ~ At least one of the debtors and another
           Other information:
                                                                                                                                   $       14,425.00            $
                                                               CJ Check If this is community property (see
           ICondition: Good                                           instructions)


   3.4.     Make:                       lnfiniti               Who has an interest in the property? Check one.

            Model:                      G37                    D Debtor 1 only
                                        2013                   D Debtor 2 only
           Year:
                                                               D· Debtor 1 and Debtor 2 only
            Approximate mileage:        101,000
                                                               I;ZI   At least one of the debtors and another
            Other information:
                                                                                                                                   $         6,924.00           $
                                                               Cl Check if this is community property (see
           E~:~~on: Fai~---------J                                    instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   ~No
   Cl     Yes


   4.1.     Make:                                              Who has an interest i.n the property? Check one.

            Model:                                             D Debtor 1 only
                                                               D Debtor 2 only
            Year:
                                                               D Debtor 1 and Debtor 2 only
            other Information:                                 D At least one of the debtors and another

                                                               D      Check if this is community property (see                     $._ _ _ __                   $._ _ _ __
                                                                      instructions}



   If you own or have more than one, list here:

   4.2.     Make:                                              Who has an interest in the property? Check one.

            Model:                                             D Debtor 1 only
                                                               D Debtor 2 only
            Year:                                                                                                                  Current value of the         Current value ofthe
                                                               D· Debtor 1 and Debtor 2 only                                       entire property?             Pc;trtion you own?
            Other information:                                 D At least one of the debtors and another
                                                                                                                                   $._ _ _ __                   $._ _ _ __
                                                               0      Check if this is community property (see
                                                                      instructions)




5. Add the dollar va"lue of the portion you own for all of your Ontries from Part 2, including any entries for pages                                                    8,229.00
   you have attached for Part 2.. Write that number here .                              .............................                         ..........   -+




 Official Form 106AIB                                           Schedule AlB: Property                                                                                page 3
            Case 8:19-bk-12325-TA                               Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                                                                                             Desc
                 Thanh Van Nguyen
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Debtor 1                                                                                                                                Case number (ifkoown) _ _ _~---------~
                  Firs! Name        Middle Name             Last Name




   Examples: Major appliances, furniture, linens, china, kitchenware
   0      No
   121 Yes. Describe..                                Furnishings                                                                                                                                                  $._ _ _-'.!1•.::._00:..:0.:.:.0:..::._0

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                   collections; electronic devices including cell phones, cameras, media players, games

   0      No
   121 Yes. Describ''·····          I Ho<USE>hold Appliances                                                                                                                                                       $. _ _ _-'.!1•.::._50:..:0.:.:.0:..::._0
                                    L------------~-------------------------~
s. ColleCtibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art ol::!iects;
                   stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   ~No
   0 Yes. Describ<L .....                                                                                                                                                                                          $ _ _ _ _ __
                                    L ..........................................-   ............................ , .........................................................................................   <

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                   and kayaks; carpentry tools; musical 'nstruments
   121 No
   0      Yes. Describ<L .....

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   121 No
   0 Yes. Describ<e. ....           I                                                                                                                                                                              $_ _ _ _ _ _

                                    L-------------------~-----------------~
11.Ciothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

   0121   No
          Yes.
                                    ~~:~~~~-~---------------·------------------------~
                                    I1    Apparel                                                                                                                                                                  $_ _ _ _5::.:0:.:0.:.;;.0:.::0


12.Jewelry
   Examples: Everyday jewelry, costume jeWelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   121 No
   0 Yes. Des<oribe> ...                                                                                                                                                                                           $._ _ _ _ __
                                    L---------~---------------·-------------C·----~
13. Non-farm animals
   Examples: Dogs, cats, birds, horses
   121 No
   0      Yes. Des,crit<e.

14. Any other personal and household items you did not already list, including any health aids you did not list

   ~No
   0      Yes. ·Give specifiC                                                                                                                                                                                      '$ _ _ _ _ _ _ _ __

          information.····.······   :l·~-:---~-:-~-~~~~----~~-----·----~-·---:----..Jr                                                                                                                             ___:::..._::__.::._=-;
15. Add the dollar value of all of your entries from Part 3,1ncluding any entries for pages you have attached                                                                                                      $                    3,000.00
    for Part 3. Write that number here ..          ........... ............. ... .. .. ................ . ............. .                                                                     ... -+

 Official Form 106AIB                                                    Schedule AlB: Property                                                                                                                                      page 4
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                  Thanh Van Nguyen                          Main Document    Page 17Case
                                                                                      ofnumber
                                                                                         66 (ifkmlwn)_ _ _ _ _ _ _ _ _ _ _ _ _ __
Debtor 1
                  FirstNt!me     Middle N~me           Last Name




16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   121   No
   DYes                                                                                                              Cash:            $_ _ _ _ _ _



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in. credit unions, brokerage houses,
                   and other similar institutions. If you have multiple.accounts with the same institution, list each.

   D     No
   121   Yes ..                                                     Institution name:


                                  17.1. Checking account:            U.S Bank National Association x1480                              $     1,167.95
                                  17.2. Checking account:                                                                             $
                                  17.3. Savings account                                                                               $
                                  17 .4. Savings account:                                                                             $
                                  17.5. Certificates of deposit:                                                                      $
                                  17 .6. Other financial account:                                                                     $
                                  17.7. Other financial account                                                                       $
                                  17.8. Other financial account:                                                                      $
                                  17.9. Other financial account                                                                       $




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   Ill   No
   DYes ........                  Institution or issuer name:


                                                                                                                                      $·--~---
                                                                                                                                      $._ _ _ _ __
                                                                                                                                      $. _ _ _ _ __



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   Ill   No                       Name of entity:                                                                    %of ownership:
   0     Yes. Give specific                                                                                          0%
                                                                                                                     _ _ _ _%         $._ _ _ _ __
         information about
         them. ..                                                                                                        0%     %     $_ _ _ _ _ _
                                                                                                                         0%   _%      $._ _ _ __




 Official Form 106AIB                                               Schedule AlB: Property                                                  page 5
            Case 8:19-bk-12325-TA                           Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                   Desc
                   Thanh Van Nguyen
                                                            Main Document    Page 18 of 66
Debtor 1                                                                                                      Case number(ilkrl<lwn) _ _ _ _ _ _ _~-------
                    First Name   Midd!e Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
  Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
  Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   ill    No
   D Yes. Give specific          Issuer name:
          information about                                                                                                              $._ _ _ _ __
          them ....
                                                                                                                                         $_ _ _ __

                                                                                                                                         $·----~-


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   liZI   No
   D      Yes. List each
          account separately.    Type of account            Institution name:
                                                                                                                                         $._ _ _ _ __
                                 401(k) or similar plan:

                                  Pension plan:
                                                                                                                                         $._ _ _ __

                                  IRA:                                                                                                   $._ _ _ _ __

                                  Retirement account                                                                                     $. _ _ _ _ __

                                  Keogh:                                                                                                 $·----,-
                                  Additional account:                                                                                    $. _ _ _ _ __

                                  Additional account:                                                                                    $._ _ _ __



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue setvice or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   \tl    No
   0      Yes ..                                        Institution name or individual:

                                  Electric:                                                                                              $_ _ _ _ _ _
                                  Gas:                                                                                                   $._ _ _ _ __
                                  Heating oil:                                                                                           $._ _ _ _ __
                                  Security deposit on rental u n i t : - - - - - - - - - - - - - - - - - - - - - - - -                   $_ _ _ __
                                  Prepaid rent                                                                                           $ _ _ _ _ __
                                  Telephone:
                                                                                                                                         $------,-----
                                  Water:                                                                                                 $_ _ _ _ __
                                  Rented furniture:                                                                                      $_ _ _ _ __
                                  Other:                                                                                                 $_ _ _ _ __


23. Annuities (A contract for a periodic payment of money to you, either for              ~fe   or for a number of years)
   liZI   No
   0      Yes ...                 Issuer name and description:
                                                                                                                                         $._ _ _ _ __
                                                                                                                                         $_ _ _ __
                                                                                                                                         $


 Officiat Form 106A/B                                                Schedule AlB: Property                                                       page 6
           Case 8:19-bk-12325-TA                                    Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                       Desc
                 Thanh Van Nguyen
                                                                    Main Document    Page 19 of 66
Debtor 1                                                                                                 Case number (If k n o w n ) > - - - - - - - - - - - - - - -
                   FlrstNa'!'e      Middle Name                  Lost Name




24.1nterests In an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

   liZl   No
   DYes                                     .Institution name and description. Separately. file the records of any interests.11 U.S.C.   § 521 (c):

                                                                                                                                                      $._ _ _ __
                                                                                                                                                      $._ _ _ __
                                                                                                                                                      $._ _ _ __


25. Trusts, equitable or future interests in property (other than anything listed in liile 1), and rights or powers
    exercisable for_ your benefit                                                                            ·

   liZl   No
   D      Yes. Give specific
          information about


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   liZl   No
   D      Yes. Give specific
          information about


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   liZl   No
   D      Yes. Give specific
          information about




28. Tax refunds owed to ·you

   liZl   No
   D      Yes. Give specific information
                                                                                                                         Federal:                $>_ _ _ __
               about them, including whether
               you already filed the returns                                                                             State:                  $. _ _ _ __
               and the tax years ....................... .
                                                                                                                         Local:                  $


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settle'ment
   liZl   No
   0      Yes. Give specific information .....
                                                                                                                        Alimony:                      $._ _ _ _ _ __

                                                                                                                        Maintenance:                  $•-------
                                                                                                                        Support:                      $•-------
                                                                                                                        Divorce settlement            $o_ _ _ _ _ __
                                                                                                                        Property settlement           $._ _ _ _ _ __

30. Other amounts someone owes you
    Examples: Unpaid wages, disabilitY insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                   Social Security benefits; unpaid loans you made to someone else
   liZl   No
   0      Yes. Give specific infornnatiorl.........          I
                                                                                                                                                      $._ _ _ _ __



Official Form 106AIB                                                         Schedule AlB: Property                                                          page 7
             Case 8:19-bk-12325-TA                         Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                                Desc
                  Thanh Van Nguyen
                                                           Main Document    Page 20 of 66
Debtor 1                                                                                                 Case number (if known) _ _ _ _- , - - - - - - - - - - -
                   F!rstName           Middle Name     La&! Name




31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
   liZI    No
   D       Yes. Name the insurance company             Company name:                                        Beneficiary:                            Surrender or refund value:
                of each policy and list its value ....
                                                                                                                                                    $• _ _ _ _ __

                                                                                                                                                    $•_:.-__ _ __

                                                                                                                                                    $·-~---
32._ Any interest in property that is dUe you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     property because someone has died.
   liZI    No
   D       Yes. Give specific information ..



33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance clairils, or rights to sue
   liZI    No
   D       Yes. Describe each claim ...


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
    liZI No
    D .Yes. Describe each claim ...................
                                                      ~-----------------------............ __________~$.__________



35. Any financial assets you did not already list
   IZI No
   0 Yes. Give sp_ecific infol-mation ..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                       .................             +                      1'167.95



                 Describe Any Business·Related Property You Own or Have an Interest ln. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any businessMrelated property?
    liZI   No. Go to Part 6.
    D      Yes. Go to line 38.




38. Accounts receivable or commissions you already earned
    D      No
    D      Yes. De•>crit>e         J

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software,_ modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    0      No
    D      Yes. Des>oribe, .....   ·I
                                    L_----------~-----------..-----------y------,
 Official Farm 106AIB                                              Schedule AlB: Property                                                                       page 8
           Case 8:19-bk-12325-TA                           Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                            Desc
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Debtor 1         Thanh Van Nguyen                                                           Case number {it known>·---------------
                   First Name         Middle Name      Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   D    No
   D    Yes. Der;criiJe •... ..l



41. Inventory
   D    No
   D    Yes. Desroribe



42.lnterests in partnerships or joint ventures
   0    No
   D    Yes. Describe ....           Name of entity:                                                      % of ownership:
                                                                                                          _ _ _%             $. _ _ _ _ _ _ _ _ _~


                                                                                                          _ _ _%             $_______________
                                                                                                          _ _%               $._ _ _ _ _ __


43. Customer lists, mailing lists, or other compilations
    D No
    D Yes. Do your lists Include personally identifiable Information (as defined in 11 U.S.C. § 101(41A))?
                D     No
                D     Yes. Describe ...
                                                                                                                              $·-----~

44. Any business~related property you did not already list
    D No
   D    Yes. Give specific
                                                                                                                              $
        information ........ .
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
                                                                                                                              $
45 .. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
      for Part 5. Write that number here ...                                                                       ....... -+ I$                 0.00   I
                Describe Any Farm~ and Commercial Fishing-Related Property You Own or Have an Interest ln.
                If you own or have an· interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable Interest In any farm~ or commercial fishingKrelated property?
   !ill No. Go to Part 7.
   D    Yes. Go to line 47.




47. Farm animals
   Examples: Livestock, poultry, farmKraised fish ·
   D    No
    D    e•s• ...................   r-· ..-····-····--·--·· . --··-··-·--·-···-·-·                     ····-····l
                                                                                                                                   $_ _ _ _ __



 Official Form 106AIB                                              Schedule AlB: Property                                               page 9
                   Case 8:19-bk-12325-TA                                          Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                                                                                Desc
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    Debtor 1             Thanh Van Nguyen                                                                                                                Case number (if known) _ _ _ _ _ _ _ _~-----
                            Firat Name          Middle Name                   Last Name




    48. Crops-either growing or harvested
          0      No
          D      Yes. Give specific
                                                                                                                                                                                                                        $._ _ _ _ __
                 information ............. !.____ ,   -·-·····----- ······--------------·- ----·-····--------·····-·---------········ ...... . ....... __ ---·-········ __ ___ ······----------· ··-··-········-----J
    49. Farm and fishing equipment, Implements, machinery, fixtures, and tools of trade
          0      No
          D
                                                                                                                                                                                                                        $·--~---
    50.   Farm and fishing supplies, chemicals, and feed
          0      No
          o           ......................   r~----------------------~-------1
                                                                                                                                                                                                                        $_ _ _ _ __

    51. Any farm- and commercial fishing-related property you did not already list
          0      No
          D      Yes. Give specifip ~
                 information .............     ,_L
                                                _________
    52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                                 0.00
                                                                                                                                                                                                                        $' - - - - - -
          for Part 6. Write that number here                                           . .....................                                                                   ............... .     ... -+



                        Describe All Property You Own or Have an Interest in That You Did Not List Above

    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

          liZI   No
          D      Yes. Give specific
                                                                                                                                                                                                                            $
                 information........... ..                                                                                                                                                                                  $

                                                    ....                                                                                                                                                                    $


    54. Add the dollar value of all of your entries from Part 7. Write that number here ..                                                                                                      ...... -+                   $           0.00



                        List the Totals of Each Part of this Form


    55. Part 1: Total real estate, line 2 ....                                                                                                                                                          .... -+
    56. Part 2: Total vehicles, line 5                                                                                   $              8,229.00

    57. Part 3: Total personal and household items, line 15                                                             $               3,000.00

    58. Part 4: Total financial assets, line 36                                                                         $                1,167.95

    59. Part 5: Total business-related property, line 45                                                                $                         0.00

    so. Part 6: Total farm- aild fishing-related property, line 52                                                       $                        0.00

    61. Part 7: Total other property not listed, line 54                                                             +$                           0.00

    62. Total personal property. Add lines 56 through 61 ............ .                                             ~-; ·---12~-~~~~] Copy personal property total ~ [~$'===12:::''::3:::9:::6:::.9'::5:::....J
    63. Total of all property on Schedule AlB. Add line 55+ line 62....................................................................                                                                                 $         34,694.95     I
1
~-------~~-----~---~----------"----~--·---·~·--~~•~c-"~·~~~-·"~"--'-~~-----w~~-------·                                                                                                                                                         _,
     Official Form 106AIB                                                                      Schedule AlB: Property                                                                                                              page 10
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 F1H m th1s mformat1on to 1dent1fy your case


 Debtor 1          Thanh Van Nguyen
                    First Name                  Middle Name               Last Name

 Debtor 2             Ngocyen Thi Pham
 (Spouse, if filing) First Name                 Middle Name               Last Name


 United States Bankruptcy Court for the: Central District of California

 ·Case number                                                                                                                                Q   Check if this is an
  (If known)
                                                                                                                                                 amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                               04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AlB: Property (Official Form 106AIB) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, "you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may· be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


                 Identify the Property You Claim as Exempt


     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      lif You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)
      D    You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule AlB that you claim as exempt, fill in the information below.




      Brief
      description:                Mobile Home                   $22,298.00                 liZi $ 22,298.00                        Cal. Civ. Proc. Code §
                                                                                           D   100% of fair market value, up to    703.140 (b)(1)
      Line from
      Schedule AlB:               1.1                                                          any applicable statutory limit


      Brief
      description:                1995 Toyota                   $201.00                    liZi $ 201.00                           Cal. Civ. Proc. Code §
                                                                                           D   100% of fair market value, up to    703.140 (b)(2)
      Line from
      Schedule AlB:
                              .3...1.-                                                         any applicable statutory limit

      Brief
      description:
                                  2013 Honda                    $8,028.00                  liZi $ 8,028.00                         Cal. Civ. Pro c. Code §
                                                                                           D   100% Cif fair market value, up to   703.140 (b)(2); b(5); b(1)
      Line from
      Schedule AlB: ..32,__                                                                    any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
      (SubjeCt to adjustment on 4/01119 and every 3 years after that for cases filed on or after the date of adjustment.)

      !if No
      D    Yes._ Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           D       No




Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                          page 1 of 1._
           Case 8:19-bk-12325-TA                             Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                             Desc
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Debtor 1            Thanh Van Nguyen                                                                        Case number ( i t / m o w n ) ' - - - - - - - - - - - - - ' -
                    Arat Name            Middle Name     Last Name




     Brief                                                                                                                           Cal. Civ. Proc. Code §
     description:
                                     Household Furnishings $._ _~1~,0~0~0,_.,.0~0            !ih      1,000.00
                                                                                                                                     703.140 {b}{3)
     Line from                       _6_                                                     D   100% affair market value, up to
                                                                                                 any applicable statutory ·limit
     Schedule AlB:
     Brief                                                                                                                           Cal. Civ. Proc. Code§
     description:                    Household Appliances $                   1 500.00       lOa$     1 500.00
                                                                                                                                     703.140 {b}{3)
     Line from
                                                                                             D   100% of fair market value, up to
     Schedule AJB; -
                                     7- -                                                        any applicable statutory limit


     Brief                           Wearing Apparel                                                                                 Cal. Civ. Proc. Code §
     description:                                                    $·-----=50:.:0.:.:.0c::.O 0$      500.00
                                                                                                                                     703.140 {b}{3)
     Line from
                                                                                               ~ 100% of fair market value, up to
                    _1_1-                                                                        any applicable statutory limit
     _Schedule AlB:

     Brief                           US Bank Checking                          1,167.95      Iii$     1,167.95                       Cal. Civ. Proc. Code §
     description:                                                    $
                                                                                                                                     703.140 {b}{5)
      Line from                      17.1                                                    D   100% of fair market value·, up to
                                                                                                 any applicable statutory limit
     .$.9!Jf!c!.l!ft3 .~.-:. .
     Brief                                                                                   0$ _ _ __
                                                                     $,_ _ _ __
     description:
      Line from
                                                                                             D   100% of fair market value, up to
      Schedule AlB:                                                                              any applicable statutory limit


      Brief                                                                                  0$ _ __
                                                                     $_ _ _ _ _
      description:
      Line from
                                                                                             D 100% of fair market value, up to
      Schedule AlB:                                                                              any applicable statutory limit

      Brief                                                          $. _ _ _ __             0$ _ _ __
      descriPtion:
     Line from                                                                               D 100% affair market value, up to
                                                                                                 any applicable statutory limit
     .$9.t!~.c:!!:l.!f! ..Am;. . .
      Brief                                                          $. _ _ _ __             0$ _ _ __
      description:
      Line from                                                                              D 100% of fair market value, up to
      Schedule AlB:                                                                              any applicable statutory. limit


      Brief                                                          $._ _ _ __              0$ _ _ __
      description:
      Line from                                                                              D   100% affair market value, up to
      Schedule AlB:                                                                              any applicable statutory limit

      Brief                                                          $. _ _ _ __             0$ _ _ __
      description:
      Line from                                                                              D 100% affair market value, up to
      Sq_J:le.clufe AjB:                                                                         any applicable statutory limit

      Brief
      description:
                                                                     $>_   ___c_ __          0$ _ _ __
      Line from                                                                              D 100% of fair market value, up to
      Schedule AlB:                                                                              any applicable statutory limit


      Brief                                                          $_ _ _ _                0$ _ _ __
      description:
      Line from                                                                              D   100% of fair market value, up to
      Schedule AlB:                                                                              any applicable statutory limit



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                             page£_ot_g_
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F1111n thiS mformat1on to 1dent1fy your case.


Debtor 1           Thanh Van Nguyen
                    First Name                       Middle Name                      LastN~me


Debtor 2             Ngocyen Thi Pham
(Spouse, if filing) First Name                       Middle Name                      LaatName


United States Bankruptcy Court for the: Central District of California

Case number
 (If known}                                                                                                                                                      1:1 Check if this is an
                                                                                                                                                                    amended filing


Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number {if known).

1. Do any creditors have claims secured by your property?
   D         No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on_ this form.
   lif Yes. Fill in all "Of the information below.




                                                                 Describe the property that secures the claim:                         $._ _ _.:.;;_-"-'-.C...


      ;:i:~c:;:;,: ~;,:'-'; ";"~'-'~:i.,~O:,:~tr-'e-'e-"t,- 'S: .u: .ic:te=- :1. : 0. : 0__ [~~~i~~~~~=~-~~~1~~:~~~:~~~:~~~-~~~-~~:~~~~]
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 D     Contingent
        Knoxville                      TN 37902                  0     Unliquidated
      City                            State    ZIP Code          1:1   Disputed
 Who owes the debt? Check one.                                   Nature of lien. Check all that apply.
 0       Debtor 1 only                                           ~ An agreement you made (suCh as mortgage or secured
 0       Debtor 2 only                                                 car loan)
  ~ Debtor 1 and bebtor 2 only                                   D     Statutory lien (such as tax lien, mechanic's lien}
  1:1    At least one of the debtors and another                 1:1   Judgment lien from a lawsuit
                                                                 1:1   Other (including a right to offset) - - - - - - - -
  ~ Check if this claim relates to a
         community debt
                                    07/20/2001


      _P~.O~·~.B~o~x,2~5~9_40~7___________ l2_o_1_3_1n_fi_n_iti_G_3_7______________
      Number          Street                                 .
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 D     Contingent
        Plano                          TX 75025                  D     Unliquidated
      City                            State    ZIP Code
                                                                 D     Disputed
 Who owes the debt? Check one.                                   Nature of lien. C!heck all that apply.
  0      Debtor 1 only                                           ~ An agreement you made (such as mortgage or secured
  0      Debtor 2 only                                                 car loan)
  0      Debtor 1 and Debtor 2 only                              D     Statutory lien (such as tax lien, mechanic's lien)
  ~ At least one Of the debtors and another                      0     Judgment lien from a lawsuit
                                                                 0     Other (including a right to o f f s e t ) - - - - - - - -
 D       Check if this claim relates to a
         community debt




Official Form 1060                                     ~Chedule        D: Creditors ~ho Have Claims Secu·red by Property                                              page 1 otL
           Case 8:19-bk-12325-TA                     Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                 Desc
                                                     Main Document    Page 26 of 66
Debtor 1        Thanh Van Nguyen                                                         Case number (if M o w n ) ' - - - - - - - - - - - - - - -
                F!rsttwme     Middle Name        Last Name




                                                                                     Last4 digits of account number_1    _Q_ _Q_· _1
       14300 Clinton Street, Space 103
      Number         Street



       Garden Grove                                  CA          92843
      City                                          State        ZIP Code


                                                                                     On which line in Part 1 did you enter the creditor? _ _

      Name                                                                           Last4digitsofaccountnumber_·_______


      Number         Street




      City                                          State        ZIP Code

                                                                                     On which line in.Part 1 did you enter the creditor? _ _

      Name                                                                           Last 4 digits of account number _ _ _ _


       Number        Street




       City                                         State        ZIP Code

                                                                                     On which line in Part 1 did you enter the creditor? _ _

       Name                                                                          Last4 digits of account number _ _ _ _


       Number        Street




       City                                         State        ZIP Code

                                                                                     On which line in· Part 1 did you enter the creditor? _ _

       Name                                                                          Last 4 digits of account number _ _ _ _


       Number        Street




       City                                         State        ZIP Code

                                                                                     On which line in Part 1 did you enter the creditor? _ _

       Name                                                                          last 4 digits of account number _ _ _ _


       Number        Street




       City                                         State        ZIP Code



Official Fo1111106D                         Part 2 of Schedule 0: Creditors Who Have Claims Secured by Property                     pageLotL_
             Case 8:19-bk-12325-TA                              Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                  Desc
                                                                Main Document    Page 27 of 66
 Fill m thts rntormat1on to ident1fy your case


. Debtor 1             Thanh Van Nguyen
                       F!rot Name                 Middle Name                La&! Name

 Debtoc 2              Ngocyen Thi Pham
 (Spouse, if filing)   Fl151 Name                 Middle Name                Last Name


 United States Bankruptcy Court for the: Central District of Galifornia

 Case number
                                                                                                                                           1:1 Check if this is an
 (lf known)                                                                                                                                   amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                         12115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/8: Property {Official Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in ScheduleD: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill It out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

                   List All of Your PRIORITY Unsecured Claims




                                                                    Last 4 digits of account number _ _ _ _                        $   $              $
       Priority Creditor's Name
                                                                    When was the debt incurred?
       Number             Street

                                                                    As of the date you file, the claim is: Check a!! that apply.

       City                              State     ZIP Code
                                                                    0    Contingent
                                                                    0    Unliquidated
      Who incurred the debt? Check one.
                                                                    0    Disputed
      1:1 Debtor 1 only
      1:1 Debtor 2 only                                             Type of PRIORITY unsecured claim:
      1:1 Debtor 1 and Debtor 2 only                                CJ   Domestic support obligations
      1:1 At least one of the debtors and another                   0    Taxes and certain other debts you owe the government
       1:1    Check if this claim is for a community debt           0    Claims for death or personal injury while you were
       Is the claim subject to offset?                                   intoxicated
       0      No                                                    0    Other. Specify
              Yes

                                                                    Last 4 digits of account number _ _ _ _                        $   $
       Priority Creditor's Name
                                                                    When was the debt incurred?
       Number             Street
                                                                    As of the date you file, the claim is; Check all that apply.
                                                                    0    Contingent
       City                              State     ZIP Code         0    Unliquidated
       Who Incurred the debt? ·Check one.                           0    Disputed
       l:l Debtor 1 only
                                                                    Type of PRIORITY unsecured claim:
       1:1 Debtor 2 only
       CJ Debtor 1 and Debtor 2 only                                1:1 Domestic support obligations
       1:1    At least one of the debtors and another
                                                                    0    Taxes and certain other debts you awe the government
                                                                    Q Claims for death or personal injury while you were
       D      Check if thi~ claim is for a community debt                intoxicated
       Is the claim subject to offset?                              0    Other. Specify _ _ _ _ _ _ _ _ _ _ __
       0      No




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                   page 1 of~
               Case 8:19-bk-12325-TA                              Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50 Desc
Debtor 1            Thanh Van Nguyen                              Main Document    Page 28Case
                                                                                            ofnumber
                                                                                               66 (if !mown) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    ArstName        Middle Name             Last Name


                · List All of Your NONPRIORITY Unsecured Claims

    Do any creditors have nonpriority unsecured claims against you?
    0      No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes




                                                                                       Last 4 digits of account number lS_           1S_ lS_ ~
                                                                                                                                                                  $._ _6'-'-,-'-'18'-'1-'-'.0-'-0
                                                                                       When was the debt incurred?
        P.O. Box 982238
      Number             Street
        El Paso                                          TX              79998
      City                                               State          ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                       Q Contingent
      Who incurred the debt? Check one.                                                Q      Unliquidated
      D        Debtor 1 only                                                           0      Disputed
      D        Debtor 2 only
      ijl      Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
      1:1      At least one of the debtors and another                                 [J Student loans
        ~ Check if this claim is for a community debt                                  [J Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority daims
      Is the claim subject to offset?                                                  [J Debts to pension or profitwsharing plans, and other similar debts
        1;11   No                                                                      lit Other. Specify _C=ree:d,it"-"C"'a"-rd"---------
        DYes

      Capital One                                                                      Last 4 digits of account number          ~     _2S. ~ _2S.
      Nonprlority Creditor's Name                                                      When was the debt incurred?
        P.O. Box 30285
      Number             Street
        Salt Lake City                                   UT              84130         As of the date you file, the claim is: Check all that apply.
      City                                               State          ZIP Code
                                                                                       CJ     Contingent
      Who incurred the debt? Check one.                                                CJ     Unliquidated
        0      Debtor 1 only                                                           D      Disputed

        CJ     Debtor 2 only
                                                                                       Type of NON PRIORITY unsecured claim:
        ~      Debtor 1 and Debtor 2 only
        1:1    At least one of the debtors and another                                 D      Student loans
                                                                                       D      Obligations arising out of a separation agreement or divorce
        ~ Check if this claim is for a community debt                                         that you did not report as priority claims
      Is the claim subject to offset?                                                  0      Debts to pension or profit~sharing plans, and other similar debts
        1;11   No                                                                      lit Other. Spec;ry     Credit Card                               ·
        DYes

        Capital Cine                                                                   Last4digitsofaccountnumber               _x _x      _1:{   _x              $•_     ___:2:c,9:..:0:.::3:.:.oc:::.o
      Nonpnorlty Creditor's Name
                                                                                       When was the debt incurred?
        P.O. Box 30285
      Number             Street
        Salt Lake City                                    UT             84130
                                                                                       As of the date you file, the claim is: .check all that apply.
      City                                               State          ZIP Coda

      Who incurred the debt? Check one.
                                                                                       D      Contingent
                                                                                       D      Unliquidated
        D      Debtor 1 only
                                                                                       D      Disputed
        D      Debtor 2 only
        ¥f Debtor 1 and Debtor 2 only                                                  Type of NONPRIORITY unsecured claim:
        D      At least one of the debtors and another
                                                                                       D      Student loans
        ¥f Check if this claim is for a community debt                                 D      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
      Is the claim subject to offset?
                                                                                       D      Debts to pension or profitwsharing plans. and other similar debts
        r;if No                                                                        r;if   Other Specify _,Co.re"'d"-i'-'t-'C"a"r-"d________
        DYes



Official Form 106E/F                                             Schedule E/F: Creditors Who Have Unsecured Claims
             Case 8:19-bk-12325-TA                               Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50 Desc
Debtor 1           Thanh Van Nguyen                              Main Document    Page 29Case
                                                                                           ofnumber
                                                                                              66 (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name       Middle Name           Last Name



               Your NONPRIORITY                   U~secured      Claims- Continuation Page




                                                                                        Last 4 digits of account number         K._ K._    X X
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?
      P.O. Box 6190
      Number             Street
                                                                                        As of the date you file, the claim is: Check all that apply.
      Sioux Falls                                       SD             57117
      City                                              State         ZIP Code          1:1   Contingent
                                                                                        1:1   Unliquidated
      Who incurred the debt? Check one.                                                 [J Disputed
      0      Debtor 1 only
      1:1    Debtor 2 only                                                              Type of NON PRIORITY unsecured claim:
      l;iJ Debtor 1 and Debtor 2 only                                                   1:1   Student loans
      0 At least one of the debtors and another                                         [J Obligations arising out of a separation agreement or divorce that
                                                                                           you did not report as priority claims
      1;1 Check if this claim is for a community debt                                   1:1 Debts to pension or profit~sharing Plans, and other similar debts
      Is the claim subject to offset?                                                   Oil" Other. Spedfy Credit Card
      Oif" No
      1:1 Yes


      SYNCB/Care Credit                                                                 Last 4 digits of accOunt number         1L 1L 1L X
      Nonprion"ty Creditor's Name
                                                                                        When was the debt incurred?
      P.O. Box 965036
      Number             Street
                                                                                        As of the date you file, the claim      is: Check all that apply.
      Orlando                                            FL            32896
      City                                              State         Z!PCode           [J Contingent
                                                                                        0     Unliquidated
      Who incurred the debt? Check one.                                                .0     Disputed
      0      Debtor 1 only
      1:J    Debtor 2 only'          .                                                  Type of NONPRIORITY unsecured claim:
      ¥J" Debtor 1 and Debtor 2 only                                                    0     Student loans
      0      At least one of the debtors and another
                                                                                        Cl    Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      ¥f Check if this claim is for a community debt                                    1:1 Debts to pension or profit~sharing plans, and other similar debts
      Is the claim subject to offset?                                                   Oil" Other. Specify Credit Card
      Oif" No
      l:l Yes


      Toyota Motor Credit                                                               Last4digitsofaccountnurilber             _M   JL ..1_ JL
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?
      P.O. Box 9786
      Number             Street
                                                                                        As of the. date you file, the claim is: Check aU that apPly.
      Cedar Rapids                                       lA            52411
      City                                              State         Z!P Code          0     Contingent
                                                                                        0     Unliquidated
      Who incurred the debt? Check one.                                                 CJ    Disputed
      1:1    Debtor 1 only
      0      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      ¥f Debtor 1 and Debtor 2 only                                                      0    Student loans
      0      -At least one of the debto~s and another
                                                                                        [J Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      1;1 Check if this claim is for a community debt
                                                                                        1:1 Debts to pension or profit~sharing plans, and other similar debts
      Is the claim subject to offset?                                                   Oil" Other. Specify·_,L,e,.a,se,__________
      Oil"   No
      1:1    Yes




Official Form 1OBE/F                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                 page:>_ of 6-
           Case 8:19-bk-12325-TA                                Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50 Desc
Debtor 1           Thanh Van Nguyen                             Main Document    Page 30Case
                                                                                          ofnumber
                                                                                             66 (if known)•------------~--
                   Fiflit Name      Middle Name          Last Name


                Your NON PRIORITY Unsecured Claims- Continuation Page




                                                                                       Last 4 diQits of account number          X X X X
                                                                                       When was the debt incurred?
      P.O. Box 108
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      St. Louis                                        MO             63166
      City                                             State         ZIP Code          0      Contingent
                                                                                       0      Unliquidated
      Who incurred the debt? Check one.                                                1:J    Disputed
      Cl     Debtor 1 only
      0      Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      l;tJ Debtor 1 and Debtor 2 only                                                  0      Student loans
      0      At least one of the debtors and another                                   0      Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      1;1 Check if this claim is for a community debt                                  0      Debts to pensi_on or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  Ill    Other. Spedfy Credit Card
      Olf No
      0      Yes




      US Dept of ED/ GLELSI                                                            Last 4 digits of account number          X X X            .K_
      Nonpriorily Creditor's Name
                                                                                       When was the debt incurred?
      P.O. Box 7860
      t-rumber           Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      Madison                                          WI             53707
      City                                             State         ZIP Code          0      Contingent
                                                                                       0      Unli_quidated
      Who incurred the debt? Check one.                                                0      Disputed
      0 Debtor 1 only
      D Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      0 Debtor 1 and Debtor 2 only                                                     i(     Student loans
      i;J' At least one of the debtors and another                                     0      Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      !:l    Check if this claim is for a community debt
                                                                                       0      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                  0      ?ther. S p e c i f y ' - - - - - - - - - - - - -
      Olf No
      0      Yes




      Wells Fargo Card Services                                                        Last 4 digits of account number          X X X X
      Nonpriority Creditor's Name
                                                                                       When was the debt incurred?
      P.O. Box 14517
      Number              Street
                                                                                       As of the date you file, the claim is: Check all that apply.
       Des Moines                                       lA            50306
      City                                             State         ZIP Code          0      Contingent
                                                                                       0      Unliquidated
      Who incurred the debt? Check one.
                                                                                       0      Disputed
      0      Debtor 1 only
      Cl     Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      1;41 Debtor 1 and Debtor 2 only                                                   1:1   Student loans
      0 At least one of the debtors and another                                         1:1   Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
      1;1 Check if this claim is for a community debt
                                                                                        !:l   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   Olf   Other. Speciry_,Co.re,d,i"t-'C"a"'r"'d-_____
      Olf No
      0      Yes




Official Form 106EIF                                           Schedule Elf: Creditors Who Have Unsecured Claims                                                   page'!_ of~
           Case 8:19-bk-12325-TA                         Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                          Desc
               Thanh Van Nguyen                          Main Document    Page 31 of 66
Debtor 1                                                                                           Case number (if known}~--------------
                F!rst Name     Midd!e Name           Last Name


               List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts.1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts-1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Bill Nguyen                                                           On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       14300 Clinton Street, Space 103                                      Line   4;&   of (Check one):   D     Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                               iZf   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                            Last 4 digits of account number~ ~ ~ ~
      Garden Grove                           CA            92843
      City                                   State               ZlP Code

                                                                            On which entry in Part 1_ or Part 2 did you list the original creditor?
      Name

                                                                            Line         of (Check one):   D     Part 1: Creditors with_Priority Unsecured Claims
      Number          Street
                                                                                                           1:1   Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number _ _ _ _
      City                                   State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                            Line         of (Check one):   0     Part 1: Creditors with Pr~ority Unsecured Claims
      Number          Street
                                                                                                           CJ    Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number _ _ _ _
      City                                   State               ZIP Code

                                                                            On which entry In Part 1 or Part 2 did you list the original creditor?
      Name
                                                                            Line         of (Check one): D Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                           1:1   Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last4digitsofaccountnumber _ _ _ _
      City                                   State


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name
                                                                            Line         of (Check one):   CJ    Part 1: Creditors with Priority Unsecured Claims
      Number          Street                                                                               0     Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      c;                                     State               ZIP Code

                                                                            On which entry In Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line         of (Check one):   1:1   Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                           D     Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code


                                                                            On wh,ch entry in Part 1 or Part 2 did you list the original creditor?
      Name


                                                                            Line         of (Check one):   D     Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                           D     Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims


      City                                   State               ZIP Code
                                                                            Last4digitsofaccountnumber _ _ _ _


Official Form 106E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                page~ oiL
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Debtor 1     Thanh Van Nguyen                          Main Document    Page 32Case
                                                                                of number
                                                                                    66 {17hnown) _ _ _ _ _ _ _ _ _ _ _                     ~--
              First Name     Middle Name         Last Name



             Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S. C.§ 159.
   Add the amounts for each type of unsecur-ed claim.




                6a. Domestic support obligations                                6a.
                                                                                          $               0.00
                6b. Taxes and certain other debts you owe the
                     government                                                 6b.       $               0.00
                6c. Claims for death or personal injury while you were
                     Intoxicated                                                6c.                       0.00
                                                                                          $

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                     6d.   +$                  0.00


                Be. Total. Add lines 6a through 6d.                             6e.
                                                                                          $               0.00




                6f. Student loans                                               61.
                                                                                          $         90,724.00
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                      6g.       $               0.00
                6h. Debts to pension or profit..sharlng plans, and other
                    similar debts                                               6h.       $               0.00

                6i. Other. Add alt other nonpriority unsecured claims.
                    Write that amount here.                                     6i.   +   $         29,985.00


                6j. Total. Add lines 6f through 6i.                             6j.
                                                                                                   120,709.00




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                               page~ of~
          Case 8:19-bk-12325-TA                            Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                       Desc
                                                           Main Document    Page 33 of 66
 Fill m this mformat1on to 1dent1fy your case:


 Debtor               Thanh Van Nguyen
                      First Name             Middle Name                  Last Name

 Debtor 2             Ngocyen Thi Pham
 (Spouse If filing)   First Name             Middle Name                  Last Name


 United States Bankruptcy Court for the: Central District of California

 Case number
 (If known)                                                                                                                                D   Check if this is an
                                                                                                                                               amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number {if known).


 1. Do you have any executory contracts or unexpired leases?
      D     No. Check this box and file .this form wit~ the court with your other schedul~s. You have nothing else to report on this form.
      Gtf   Yes. Fill in all of the· i~for~ation .bela~ ~ven if the c~ntracts or'leases are listed on Schedule AlB: Property (Official Form 106AIB).

 2. List separately each person or company with whom you have the contract or lease. Then state what each .contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instru.ctions for this form in the instruction bOoklet for more examples of executory contracts and
    unexpired leases.




       Toyota Motor Credit                                                                2018 Toyota Camry Lease
      Name
       P.O. Box 9786
      Number           · Street
       Cedar Rapids                    lA           52409
                                         State      ZIP Code




                         Street




                         Street




                         Street




      Number             Street




Official Fonn 106G                               Schedule G: Executory Contracts and Unexpired Leases                                             page 1 ot_1_
           Case 8:19-bk-12325-TA                                    Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                 Desc
                                                                    Main Document    Page 34 of 66
 Fill in this 1nformat1on to ldenttfy your case.


 Debtor 1           Thanh Van Nguyen
                     First Name                       Middle Name                L~atName


 Debtor 2              Ngocyen Thi Pham
 (Spouse, iffiling) First Name                        Middle Name                Last Name

 United States Bankruptcy Court for the: Central District of California

 Case number
  (If known)                                                                                                                                   0   Check if this is an
                                                                                                                                                   amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                     12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are eqUally responsible for supplying correct Information. If more space is needed, copy the Additional Page, fill it out,
and number the entries ·in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a .codebtor.)
       0    No
    lil:i Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and temton'es include
    Arizona, California, Idaho, Louisiana, Nevada, New. Mexico, Puerto Rico, Texas, WaShington, and Wisconsin.)
       D    No. Go to-line 3.
       li!f Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            0     No
            !if Yes. In which community state or territory did you live?C=a"lif,_,o"r;cn,.,ia"------·· Fill in the name and curi"ent address of that person.
                    Ngocyen Thi Pham
                  . Name of your spouse, former spouse, or legal equivalent

                    14300 Clinton Street, Spaq3 103
                   Number            Street

                    Garden Grove                                    CA                       92843
                   City                                             State                      ZIP Code


 3. ln.Column 1,1ist all of your codebtors. Do not include your spouse as      a codebtor if your spouse is filing with you. List the person
       shown in· line 2 again as a codebtor only If that person is a guarantor or cosigner. Make sure you have listed the creditor on
       Schedule D (Official Form 1 060), Schedule ElF (Official Form 106EIF), or Schedule G (Official Form 106G). Use Schedule D,
       Schedule ElF, or Schedule G to fill out Column 2.




           Bill Nguyen
           Neme
                                                                                                             !ill'   Schedule D, line ..1L_
           14300 Clinton Street, Space 103                                                                   lif' Schedule ElF, line i&_
           Number           Street                                                                           CJ      Schedule G, line _ __
           Garden Grove                                                CA                      92843

 3.2
                                                                                                             CJ      Schedule D, line _ __
           Name
                                                                                                             D       Schedule ElF, line _ __
           Number           Street                                                                           0       Schedule G, line _ __



 3.3
           Name
                                                                                                             Q Schedule D, hne
                                                                                                             Q schedule ElF, line _ _
           Number           Street                                                                           0       Schedule G, line _ __




Official Form 106H                                                            Schedule H: Your Codebtors                                             page 1 ot_1_
             Case 8:19-bk-12325-TA                        Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                                  Desc
                                                          Main Document    Page 35 of 66

     Filltn th1s mformation to tdenttfy your case


     Debtor 1              Thanh Van Nguyen
                           Fimt Name            Middle Name                   LastNBme

     Debtoc 2               Ngocyen Thi Pham
     (Spouse, If filing)   First Nama           Middle Name                   Last Name


     United States Bankruptcy Court for the: Central District of California

     Case number                                                                                                   Check if this is:
      (If known)
                                                                                                                   0    An amended filing
                                                                                                                   0    A supplement showing postpetition chapter 13
                                                                                                                        income as of the following date:
Official Form 1061                                                                                                      MM I DD f YYYY

Schedule 1: Your Income                                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, qo not. include information about your spouse. If more spacf1t Is needed, attach a
separate sheet to this form. On the top of any additional pageS, write your name and case number (if known). Answer every question.


                           Describe Employment


     1. Fill in your employment
        information.
        If you have more than one job,
        attach a separate page with
        inform·ation about additional         Employment status                  lii1 Employed                                      0      Employed
        employers.                                                               D      Not employed                                lilf   Not employed
        Include part-time, seasonal, or
        self-employed work.
                                              Occupation                        Cook
        Occupation may include student
        or homemaker, if it applies.
                                              Employer's name                   Pho America, LLC

                                              Employer's address                1826 Pacific Avenue
                                                                                 Number Street                                    Number      Street




                                                                                Long Beach                  CA     90806
                                                                                 City              State     ZIP Code             City                    State   ZIP Code

                                              How long employed there?                  4'fears
                           Give·oetails About Monthly Income

        Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your                 non~filing
        spouse unless you are separated.
        If you or your non~filing spouse have more than one employer, combine the information for all employers for that person on the lines
        below. If you need more space, attach a separate sheet to this form.
i



12.      List monthly. gross wages, salary, and commissions (before all payroll
         deductions). If not paid monthly, calculate what the monthly wage would be.                   2"        1,320.00                        0.00
I'·
.1                                                                                                           $                         $
1
         Estimate and list monthly overtime pay.                                                       3.   +$         0.00       + $            0.00

                                                                                                                 1.320.00     1                  0.00
I 4. Calculate gross income. Add line 2 + line 3.
1                                                                                                      4.    $                         $



Official Form 1061                                                      Schedule 1: Your Income                                                                   page 1
              Case 8:19-bk-12325-TA                                      Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                                 Desc
                                                                         Main Document    Page 36 of 66
Debtor 1             Thanh. Van Nguyen                                                                                           Case number (jfknown)
                        FlrstN~me     Middle N11me                  LastNQme




II
I        Copy line 4 here .................   ................................................              ........ -+ 4.       $   1,320.00              $    0.00
I
I
I

I'I
I
         List all payroll deductions:

           5it Tax, Medicare, and Social Security deductions                                                           5a.       $         0.00            $    0.00
I          5b. Mandatory contributions for retirement plans                                                            5b.       $         0.00            $    0.00
I
I
           5c. Voluntary contributions for retirement plans                                                            5c.       $         0.00            $    0.00
II         5d. Required repayments of retirement fund loans                                                            5d.       $         0.00            $    0.00
I
I          5e. Insurance                                                                                               5e.       $         0.00            $    0.00
           51. Domestic support obligations                                                                            51.       $         0.00            $    0.00
I          5g. Union dues                                                                                              5g.       $         0.00            $    0.00
1                                                                                                                      5h. +$              0.00          + $     0.00
           5h. Other deductions. Specify:
I       6. Add the payroll deductions. Add lines 5a + 5b                       + 5c + 5d + 5e +5f + 5g + 5h.            6.              114.18             $     0.00
I'                                                                                                                               $

                                                                                                                                 $   1,205.82              $     0.00
'I 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                               7.
 I
 ja List all other Income regularly received:
i
I
           Sa. Net income from rental property and from operating a business,
                  profession, or farm
'
I                 Attach a statement for each property and business showing gross
                  receipts, ordinary and necessa'ry business expenses, and the total                                             $         0.00            $     0.00
                  monthly net income.                                                                                  Sa.
           Bb. Interest and dividends                                                                                  8b.       $         0.00            $     0.00
           Be. Family support payments that you, a non-filing spouse, or a dependent
               regularly receive
               Include alimony, spousal support, child support, maintenance, divorce                                                       0.00                  0.00
                                                                                                                                 $                         $
               settlement, and property settlement                                   8c.
           Bd. Unemployment compensation                                                                               8d.       $         0.00            $     0.00
           Be. Social Security                                                                                         Be.       $         Q.OO            $     Q.OQ
            81. Other government assistance that you regularly receive
                  Include cash assistance and the value (if known) of any non-cash assistance
                  that you receive, such as food stamps (benefits under the Supplemental
                  Nutrition Assistance Program) or housing subsidies.
                  Specify: Food Stamps                                                                                 81.       $         0.00            $   353.00
            Bg. Pension or retirement income                                                                           8g.       $         0.00            $     0.00

l   I 9.
           8h. Other monthly income. Specify:

           Add all other Income. Add lines Sa+ 8b + Be+ Bd +Be+ Bf +Bg + 8h.
                                                                                                                       8h. +$

                                                                                                                        9.
                                                                                                                             I   $
                                                                                                                                           0.00
                                                                                                                                           o.ool
                                                                                                                                                         +$
                                                                                                                                                           $
                                                                                                                                                                 0.00
                                                                                                                                                               353.00
                                                                                                                                                                        I
I

                                                                                                                             I$
I
!10. Calculate monthly income. Add line 7 +line 9.                                                                                   1.205.821 + 1 $           353.00             1,558.82._ 1
1          Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10                                              I= 1$
i11. State all other regular contributions to the expenses that you list in Schedule J.
    I
           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
           friends or relatives.
           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
           specity:AssiS"\C.>n,c~fn:rn 1-=-am·r~..,                                                                                                                 11 + ;$==2:5::0:::.o::o:.j
    )12. Add the amount in the last colum_n of line 10 to the amount In line 11. The result is the combined monthly income.
    ]    Write that amount on th8 Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                         12.$
                                                                                                                                                                            I      1,808.82
    '                                                                                                                                                                       Combined
                                                                                                                                                                            monthly income
        13. Do you expect an increase or decrease within the year after you file this form?
            Glf   NoC
            D     Yes: Explain:


    Official Form 1061                                                                           Schedule 1: Your Income                                                        page 2
               Case 8:19-bk-12325-TA                            Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                    Desc
                                                                Main Document    Page 37 of 66

      F1ll1n th1s mformat1on to 1dent1fy your case·

      Debtor 1          Thanh Van Nguyen
                         Flrsl Name               Middle Name                  Last Name                      Check if this is:
      Debtor 2            Ngocyen Thi Pham                                                                     D An amended filing
      (Spouse, if filing) First Name              Middle Name                  Last Name
                                                                                                               D A supplement showing postpetition chapter 13
      United States Bankruptcy Court for the: Central District of California                                       expenses as of the following date:
      Case number                                                                                                  MM I DDI YYYY
      {If known)




    Official Form 106J
    Schedule J: Your Expenses                                                                                                                                 12/15

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If n1ore space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

-                       Describe Your Household

!1:    Is this a joint case?

       D    No. Go to line 2.
       !iZI Yes. Does Debtor 2 live in a separate household?
                 fill No
                    0    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

       Do you have dependents?                  ~No                                        Dependent's' relationship to             Dependent's   Does dependent live
       Do not list Debtor 1 and                 D    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
       Debtor 2.                                     each dependent.. ........................ - - - - - - - - - - -
       Do not state the dependents'
                                                                                                                                                  0 No
       names.                                                                                                                                     0     Yes

                                                                                                                                                  0 No
                                                                                                                                                  0     Yes

                                                                                                                                                  0 No
                                                                                                                                                  0     Yes

                                                                                                                                                  0 No
                                                                                                                                                  DYes

                                                                                                                                                  D No
                                                                                                                                                  0     Yes

                                                fill No
                                                0    Yes


                     Estimate Your Ongoing Monthly Expenses

    Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
    expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
    applicable date.
    Include expenses paid for with non-cash government assistance if you know the_value of
    such assistance and have included it on Schedule 1: Your Income (Official Form 1061.)

    4. The rental or home own·ership expenses for your residence. Include first mortgage payments and
                                                                                                                                      $           1,526.63
       any rent for the ground or lot.                                                                                        4.

         If not included in line 4:
         4a.     Real estate taxes                                                                                            4a.     $                   0.00
         4b.     Property, homeowner's, or renter's insurance                                                                 4b.     $                   0.00
         4c.     Home maintenance, repair, and upkeep expenses                                                                4c.     $                   0.00
         4d.     Homeowner's association or condominium dues                                                                  4d.                         0.00

Official Form 106J                                                  Schedule J: Your Expenses                                                             page 1
                Case 8:19-bk-12325-TA                    Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                           Desc
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     Debtor 1        Thanh Van Nguyen                                                         Case number (if known), _ _ _ _ _ _ _ _ _ _ _ _ __
                     Firnl Name     Middle Name       Last Name




                                                                                                                        $              0.00
     5. Additional mortgage payments for your residence, such ·as home equity loans                              5.

     6. Utilities:
         6a.    Electricity, heat, natural gas                                                                   6a.    $              0.00
         6b.    Water, sewer, garbage collection                                                                 6b.    $              0.00
         6C.    Telephone, cell phone, Internet, satellite, and cable seiVices                                   6C.    $            100.00
         6d.    Other. Specify:                                                                                  6d.    $              0.00
     7. Food and housekeeping supplies                                                                           7.     $            500.00
     8. Childcare and children's education costs                                                                 8.     $              0.00
     9. Clothing, laundry, and dry cleaning                                                                      9.     $              0.00
110.     Personal care products and services                                                                     10.    $              0.00
(11.     Medical and dental expenses                                                                             11.    $              0.00
I
i12.     Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $            500.00
         Do not include car payments.                                                                            12.

113      Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $              0.00
'
114      Charitable contributions and religious donations                                                        14.    $              0.00

I115.    Insurance.
         Do not include insurance deducted from your pay or included in lines 4 or 20.

         15a. Life insurance                                                                                     15a.   $              0.00
         15b. Health insurance                                                                                   15b.   $              0.00
         15C. Vehicle insurance                                                                                  15C.   $            358.72
         15d. Other insurance. Specify:                                                                          15d.   $              o.oo·
\16.     Taxes. DO not include taxes deducted from your pay or included in lines 4 or 20.
         Specify:                                                                                                16.    $              0.00

!17.     Installment or lease payments:
         17a. Car payments for Vehicle 1                                                                         17a.   $            380.86
         17b. Car payments for Vehicle .2                                                                        17b.   $              0.00
         17c. Other. Specify:                                                                                    17c.   $              0.00
         17d. Other. Specify:                                                                                    17d.   $              0.00

118      Your payments of alimony, maintenance, aQd support that you did not report as deducted from
I        your pay on line 5, Schedule I, Your Income (Official Form 1061).                                        18.                  0.00
                                                                                                                        $
;'
 ]19.    Other payments you make to support others who do not live with you.
!I      Specify:                                                                                                  19.   $              0.00
;20.     Other real property expenses not Included in lines 4 or 5 of this form or on Schedule 1: Your Income.
'                                                                                                                                      0.00
         20a. Mortgages on other property                                                                        20a.   $
         20b. Real estate taxes                                                                                  20b.   $              0.00
         20C. Property, homeowner's, or renter's insurance                                                       20c.   $              0.00
         20d. Maintenance, repair, and upkeep expenses                                                           20d.   $              0.00
         20e. Homeowner's association or condominium dues                                                        20e.   $              0.00


Official Form 106J                                                Schedule J: Your Expenses                                            page 2
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    Debtor 1          Thanh Van Nguyen                                                            Ca,se number(ifknown)'--------------
                      Flr.t Name   Middle Name        Last Name




I(21.    Other. S p e c i f y : - - - - - - - - - - - - - - - - - - - - - -                                    21.   +$                                               0.00
1
                                                                                                                     ·---------~----•-•e


j22.     Calculate your monthly expenses.

i        22a. Add lines 4 through 21.                                                                         22a.       $                              3,366.21
         22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                 22b.       $                                            0.00
         22c. Add line 22a and 22b. The result is your monthly expenses.                                      22c.       $                                  3,366.21
                                                                                                                     -   ~"··---------·-··-   ----------.   ~-----------·   ..

I~ 23. Calculate your monthly net Income.
                                                                                                                           $                                1,808.82
        23a.     Copy line 12 (your combined monthly income) from Schedule f.                                 23a.

        23b.     Copy your monthly expenses from line 22c above.                                              23b.   -$                                     3,366.21

        23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                             $                         -1,557.39
                 The result is your monthly net income.                                                       23c.




lz4.    Do you expect an increase or decrease·in your expenses within the year after you file this form?
i
        For example, do you expect to finish paying for your car loan within the year or do you expect your
        mortgage payment to increase or decrease because of a modification to ~he terms of your mortgage?

        rill   No.                                                                                                                 ·.


        l:l    Yes.     Explain here:




                                                                                                               .




Official Form 106J                                                Schedule J: Your Expenses                                                                           page 3
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F1ll m this 1nformat1on to 1dent1fy your case.


Debtor 1              Thanh Van Nguyen
                      Flrot Name           Middle Nama                   Last Name

Debtor 2               Ngocyen Thi Pham
(Spouse, If filing)   First Name           Middle Name                   Last Name


United States Bankruptcy Court for the: Central District of California

Case number
(If known)
                                                                                                                                      l:l Check if this is an
                                                                                                                                         amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                12115

  If two married people are filing tOgether, both are equally responsible for supplying correct infonnation.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both.18 U.S.C. §§ 152,1341,1519, and 3571.



                       Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        Ill No
        D     Yes. Name of person _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                     Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




                      \~
     JC --~-~~~~---------­
          Signature of Debtor 1
                                                                     x~jt==
                                                                             Signature of Debtor 2



                                                                             Date    G&o/ f!t,VvyJJ; 0I
                                                                                     MM/    1




  Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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  Fill 1n this mformat1on to identify your case:


  Debtor 1           Thanh Van Nguyen
                        First Nama              Middle Name                 Last Name

   Debtoc 2             Ngocyen Thi Pham
   (Spouse, If filing) First Name               Middle Name                 Last Name


   United States Bankruptcy Court for the: Central District of California

   Case number
   (If known)                                                                                                                        0   Check if this is an
                                                                                                                                         amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                       04/16
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correCt
 Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


                   Give Details About Your Marital Status and Where You Lived Before


   1. What Is your current marital status?

        1!1 Manied
        D    Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?
        ~No
        D    Yes. List atl of the places you lived in the last 3 years. Do not include where you live now.



                                                                   ~-li\li
                                                                                        D same as Debtor 1                                D   Same as Debtor 1


                                                                    From                                                                      From
                 Number              Street                                                 Number Street
                                                                   To                                                                         To




                 City                         State ·ZIP Code                               City                  State ZIP Code


                                                                                        D   Same as Debtor 1                              D   Same as Debtor 1

                                                                    From                                                                      From
                 Number              Street                                                 Number Street
                                                                    To                                                                        To



                 City                         State ZIP Code                                City                  State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        D     No
        Iii' Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

                   Explain the Sources of "(our Income

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 1
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Debtor1        Thanh Van Nguyen                                                                                                            Case number (if k n o w n ) > - - - - - - - - - - - - - - -
                 First Name             Middle Name               Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a· joint case and you have income that you receive together, list it only once under Debtor 1.

     0    No
     iii! Yes. Fill in the details.




           From January 1 of current year until
                                                                          li?.(   Wages, commissions,
                                                                                  bonuses, tips                 $                  6,600.00 D              Wages, commissioris,
                                                                                                                                                           bonuses, tips           $
           the date you filed for bankruptcy:
                                                                         D        Operating a business                                      D                        a business
                                                                                                                                                                                         , , ,__   GWoom·~·~••"w"




           For last calendar year:
                                                                         liZf     Wages, commissions,                                                  D   Wages, commissions,
                                                                                  bonuses, tips                 $                15,120.00                 bonuses, tips           $
           (January 1 to December 31,2018                                D        Operating a business                                                 D   _Operating a business
                                                        YYYY


           For the calendar year before that:                            ~        Wages, commissions,                                                  D   Wages, commissions,
                                                                                  bonuses, tips                                                            bonuses, tips
                                                                                                                $,_----',:11:':5>,:,1~2e,D!:,JD~O'!:                               $. _ _ _ __
           (January 1 to December 31, 2"'0"'1"7_ __,                     0        Operating a business                                                 D   Operating a business
                                      YYYY


 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, llst It only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     D    No
     ~ Yes. Fill in the details.




            From January 1 of current year until                                                            $                                          Food Stamps
                                                                                                                                                                                   $     2,118.00
            the date you filed for bankruptcy:                                                                                                         Family Gift                       1,500.00
                                                                                                            $                                                                      $



             For last calendar year:                                                                        $                                          Food Stamps                 $
                                                                                                                                                                                         4,236.00
            (January 1 to December31,2018                         )                                         $                                          Famil)': Gift               $
                                                                                                                                                                                         3,000.00
                                                         YYYY
                                                                                                            $                                                                      $
          o "''"N~• .~w- "'"'"-om·••""~~·-·-~••   ·-~~·~···M-~M""'~- "-~"""-··~""'    ·····~·-••"'""-·~·"
                                                                                                                    .....   -'·-··~""'''   ·0-.. ..
                                                                                                                                               ~




             For the _~;alendar year before that:                                                           $                                          Food Stamps                 $     2,006.00
             (January 1 to December 31 .~                                                                   $                                                                      $
                                                         YYYY
                                                                                                            $                                                                      $




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                              page 2
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Debtor 1      Thanh Van Nguyen                                                                           Case number (if k n o w n ) ' - - - - - - - - - - - - - - -
               1'~•1   Name        Middle Nama               Las! Name




              List Certain                          You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1'S or Debtor 2's debts primarily consumer debts?

     0     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               D       No. Go to line 7.

               D       Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor, Do not indude payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               "Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     li1 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               iizl    No. Go to line 7.

               D       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and
                            alimony. Also, do not include payments to an attorney for this bankruptcy case.




                                                                                           $____    ~   ____ $___________
                         Creditor's Name
                                                                                                                                              D   Mortgage

                                                                                                                                              Dear

                         Number    Street                                                                                                     D   Credit card

                                                                                                                                              D   Loan repayment

                                                                                                                                              D   Suppliers or vendors

                         City                    State            ZIP COde
                                                                                                                                              D   Other _ _ _ __




                                                                                           $c__________ $.___________
                                                                                                                                              D.Mortgage
                         Creditor's Name
                                                                                                                                              Dear

                         Number    Street
                                                                                                                                              0   Credit card

                                                                                                                                              D   Loan repayment

                                                                                                                                              0   Suppliers or vendors

                                                                                                                                              Dother _ _ __
                         City                    State            ZIP Code




                                                                                           $'----~---             $,__________                D Mortgage
                         Creditor's Name
                                                                                                                                              Dear
                         Number    Street                                                                                                     0   Credit card

                                                                                                                                              D   Loan repayment

                                                                                                                                              0   Suppliers or vendors

                                                                                                                                              Dother _ _ __
                         City                    State            ZIP Code




Official Fonn 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page3
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D~btor   1       Thanh Van Nguyen                                                                     Case number (if known))__ _ _ _ _ _ _ _ _ _ _ _ __
                      FlmtName       Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a bu.siness you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     Iii No
     0       Yes. List all payments to an insider.




                                                                                      $._ _ __
                                                                                                       $'--------
              Insider's Name



              Number        Street




              City                                 State   ZIP Code


                                                                                      $._ _ _ _ $·_ _ __
               Insider's Name


              Number        Street




               City                                State   ZIP Code


  a. Within 1 year.before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an Insider?
     Include payments on debts guaranteed or cosigned by an insider.

     Iii No
     D       Yes: List all payments that benefited an insider.




                                                                                       $_ _ _ _ $_ _ _ __
               Insider's Name


               Number       Street




               City                                State   ZIP Code


                                                                                       $ ______ $_ _ _ __
               Insider's Name



               Number       Street




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                      page4
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Debtor 1       Thanh Van Nguyen                                                                         Case number (if/mown)_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                    Middle Name            Last Name




     Within 1 year           you                        were you a party In any lawsuit, court action, or                       proceeding?
     List all such matters, including perso~al injury cases, small claims actions, divorces, collection suits, paternity actions. support or custody modifications,
     and contract disputes.

     121 No
     D     Yes. Fill in the details.

                                                                ri\JIIIltiii~~wf[l§ll'~iJi~Jll~~i~t~l[i~l~i!~~W;
            Case title,_ _ _ _ _ _ _ _ _ _ _ _ _ ~                                                ICourt Name                                     r:J   Pending

            ____________________ !                                                                 '                                              DOn appeal
                                                                ~                                  IN"o"m"b::oco-s"t=ce::,,.------------ D              Concluded

            CasB number                                         '                                 I
                            -------~!                                                             '=-------,=-==o---
           ~·-----------~···~---~--1.....                                                        ·-~~~~~·~~-·-.~-··-:~--~IP Co~---------~~·--·,w~,-~~··
            Case   title•-------------1                                                            lc~o~o~rt•N~•~m~,--------------                D
                                                                                                                                                  D
                                                                                                                                                        Pending




                            -----------~~
                                                                                                                                                        On appeal

                                                                                                                                                  D     Concluded
                                                                                                   INomboc Stce•t
                                                                                                   lc~;c,,c-------,s"-tm.-.c-"z"'tP'c~,=,~,---­
            Case numbe'r

                                                                L..                           .... i
 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     121 No.    Go to line 11.
     D     Yes. Fill in the information below.




                 Creditor's Name



                 Number    Street


                                                                        D    Property was repossessed.
                                                                        D    Property was foreclosed.
                                                                        D    Property was garnished.
                 City                             State   ZIP Code      D    Property was attached, seized, or levied.




                                                                                                                                                  $_ _ _ _
                 Creditor's Name



                 Number    Street



                                                                        D    Property was repossessed.
                                                                        D    Property was foreclosed.

                 Ctly                             State   ZIP Code
                                                                        D    Property was garnished.
                                                                        0    Property was attached, seized, or levied.
~-···-~--~--·---~-~-----·~~~·~------·--·~~-~-


Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5
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Debtor 1           Thanh Van Nguyen                                                                 Case number (if !mown)) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                   First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     acCounts or refuse to make a payment because you owed a debt?
     i ZI No
     1:1    Yes. Fill in the details.



            Creditor's Name

                                                                                                                                      $,_ _ _ __
            Number      Street




            City                           State   ZIP Code       Last 4 digits of account number: XXXX-_ _ _ _


 12. Within 1 y·ear before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of .
     creditors, a court-appointed receiver, a custodian, or another official?
     !ill   No
     0      Yes

                   List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give· any gifts with a total value of more than $600 per person?
     !ill   No
     0      Yes. Fill in the details for each gift.




                                                                                                                                         $._ _ __
            Person to Whom You Gave the Gift

                                                                                                                                         $_ _ __




            Person's relationship to you




                                                                                                                                          $_ _ _ _


                                                                                                                                          $_ _ __




            Person's relationship to you - - - - - -


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                       page 6
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Debtor 1          Thanh Van Nguyen                                                                        Case number (If known) _ _ _ _ _ _ _ _ _ _ _ _ __
                    Flffll Name     Middle Name              LaatName




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     liif No
     D     Yes. Fill in the details for each gift or contribution.




                                                                                                                                                  $·~---
           Charity's Name

                                                                                                                                                  $._ _ __


           Number        Street




           c..,             State    ZIP Code




                    List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     lit No
     0     Yes_ Fill in the details.




                                                                                                                                                  $~---



                    List Certain Payments or Transfers

  16. Within 1 year before you filed for' bankruptcy·, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking ba-nkruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers,              or credit counseling agencies for services required in your bankruptcy.
     D     No
     liif Yes. Fill in the details.
            Kathy T. Luong, Esq.
             Person Who was Paid

             10141 Westminster Avenue
             Number        Street                                                                                                                 $._--"1'C:.50::..:0:.:.:.0::0
            Suite 201
                                                                                                                                                  $._ _ __
            Garden Grove                 CA       92843
             City                        State    ZIP Code

             kathy@ktulaw.com
             Email or website address


             Person Who Made the Payment, if Not You



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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Debtor 1       Thanh Van Nguyen                                                                                         Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name               Lost Name




            Person Who Was Paid
                                                                                                                                                            $._ _ __
            Number        Street

                                                                                                                                                            $'---'------


            City                         State    Zl P Code




            Person Who Made the Payment, if Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyorle else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     Gil' No
     D     Yes. Fill in the details.




             Person Who Was Paid


             Number        Streat



                                                                                                                                                            $~---
             City                         State   ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     Gil'~                           .                                                     .
     D     Yes. Fill in the details.




            Person Who Received Transfer


            Number         Street




            City                         State    Zl P Code


            Person's relationsli_ip to you
                                                                                                                   ,
                                                                                               ................... ................................

            Person Who Received Transfer


            Number         sO.tceo;;;;;;t---------



            City                         State    Zl P Code

            Person's relationship to yOu - - - - -

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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Debtor 1         Thanh Van Nguyen                                                                    Case number (ifknoWfll_ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Nama      Middle Name          Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self~settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     lill   No
     D      Yes. Fill in the details.




            Name of trust




                 Ust Certain Financial Accounts, Instruments, Safe Deposit Boxes, and storage Units
  20. Within 1 year before you filed for bankruptcy, were any financial accounts or Instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
      brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     lill No
     D      Yes. Fill in the details.




             Name of Financial Institution
                                                                      xxxx-_ _ _ _              0   Chocking                             $ _ __

             Number         Street
                                                                                                D Savings
                                                                                                0 Mone'y market
                                                                                                CJ Brokerage
             City                         State    ZIP Code



                                                                      XXXX-_ _ _ _              D   Checking                             $_ _ _
             Name of Financial Institution
                                                                                                0   Savings
             Number         Street                                                              0   Money market

                                                                                                [J Broke~~e
                                                                                                00the,_ _ __
             City                         State    ZIP Code

  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
      securities, cash, or other valuables?
     til No
     D      Yes. Fill in tho details.



                                                                                                                                                0 No
              Name of FlnancJallnstltuflon                                                                                                      DYes


              Number        street




              City                        State    ZIP Code



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                      page 9
            Case 8:19-bk-12325-TA                                Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                            Desc
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                                                                                                              I
Debtor 1         Thanh Van Nguyen                                                                     Case number (if known) _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    Firs! Name      Middle Name              Last Name




            you stored property in a storag.e unit or place other than your home within 1 year before you filed for bankruptcy?
           No
      Cl   Yes. Fill in the details.




             Name of Storage Facility
                                                                     "'""'
             Number       street




                      Identify Property You Hold or Control for Someone Else
  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
      Gil' No
      Cl    Yes. Fill in the details.




             owner's Name                                                                                                                     $._ __

              Number       Street




             City                        State     ZIP Code

                       Give Details About Envlronmentallnfonnatlon.

  For the purpose of Part 10, the following definitions apply:
  •   Environmental law means any federal, state. or local statute or regulation concerning pollution, contamination, releases of
      hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      including statutes or regulations controlling the cleanUp of these substances, wastes, or material.
  a Site means any location, facility, or property as defined under any erlvironmentallaw, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.
  •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, ,toxic
      substance, hazardous material,. pollutant, contaminant, or similar tenn.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

       liZI No
       Cl   Yes. Fill In the details.




            Name of site


            Number        Street


                                                                   City        state   ZIP Code



            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                       page 10
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Debtor 1          Thanh Van Nguyen                                                                                Case number (if known)_ _ _ _ _ _ _ _ _ _ _ _ _ __
                    First Name      Middle Name          Last Name




 26. Have you notified any governmental unit of any release of hazardous material?

     !if No
     1:1    Yes. Fill in the details.




             Name of site


             Number        Street



                                                               City                    State    ZIP Code


             City                        State    ZIP Code


             you been a party In any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     liZ!   No
     Q Yes. Fill in the details.


            Caset!Ueo_ _ _ _ _ _ _ _ _ _ __
                                                                     Court Name
                                                                                                                                                         Q   Pending

                                                                                                                                                         Q   On appeal

                                                                     Number   Street                                                                     0   Concluded


            Case number                                              City                      State   ZIP Code


                      Give Details About Your Business or Connections to Any Business
  27. Within 4 years before you filed fqr b.ankruptcy, did you own a business or have any of the following connections to any business?
            [J A sole proprietor orself~mployed in a trade, profession, or other activity, either full-time or part-time
            1:1   A member of a limited liability company (LLC) or limited liability partnership (LLP)
            0     A partner In a partnership
            0     An officer, director, or managing executive of a corporation
            0     An owner of at least 5% of the voting or equity securities of a corporation

     ~      No. None of the above applies. Go to Part 12.
     0      Yes. Check all that _apply above and fill in the


              Business Name



              Number       Street




              Business Name



              Number       Street



                                                                                                                              From            To

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 11
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Debtor 1         Thanh Van Nguyen                                                                    Case number {If known) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                     First Name      Middle Name          Last Name




              Business Name



              Number        Street




                                                                                                                  From            To
              City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     liZ(   No
     0      Yes. Fill in the details below.




              Name                                                    MM/.DDIVYYY


              Number        Street




              City                        State    ZIP Code




                     Sign Below

       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct. I understand that making a falso statement, concealing proporty, or obtaining money or property by fraud
       In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.




       ".M.   Date      (J}Il{Jtq                     ·
                                                                                    ":::::t~r··
                                                                                     Date   /9
                                                                                            .

       Did you        ~nal pages to Your Statement of Financial Affai
       liZf    No
       Q       Yes



       Did you pay or agree to pay someone who- is not an attorney to help you fill out bankruptcy forms?
       Gif No
       0      Yes. Name of person. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                   Declaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 12
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F1ll m this mformat1on to identify your case

Debtor 1           Thanh Van Nguyen
                    First Name             Middle Name                   Last Name

Debtee 2             Nqocyen Thi Pham
(Spouse, if filing) First Name             Middle Nama                   Last Nama


United States Bankruptcy Court for the: Central District of California

Case number
                                                                                                                                        1:1    Check if this is an
 (If known) ·                                                                                                                                  amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                          1211s

  If you are an Individual filing undef chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting C?f creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together In a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).                                                  ·

                     List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of ScheduleD: Creditors Who Have Claims Secured by Property _(Official Form 1060), fill in the
       information below.




          Creditor's                                                                 0   Surrender the property.                     DNo
          ~-~1-~!~_t>~Q~ge_____ ~------------------ 0 Retain the property and redeem it.                                             Iii Yes
          Description of Mobile Home at 14300 Clinton St Spc !iZI Retain the property and enter into a ·
          property                                      '
          securing debt: 103                                                             Reaffirmation Agreement.
                                                                                     D Retain the property and [explain]: _ _ __



          Creditor's                                                                 0 Surrender the property.                       DNo
                                                                                     D   Retain the property and redeem it.          DYes
          Description of
          property                                                                   0   Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                     D Retain the property and [explain]: _ _ __


          Creditor's                                                                 D Surrender the property.                       DNo
          !!~L,-~~~~-""o/''W'"" ___ ,_,,_,~e.---~~w"'~·--'-'""'"'~"•~•~••-•
                                                                                     D Retain the property and redeem it.            DYes
          DescriptiOn of
          property                                                                   D Retain the property and enter into a
          securing debt                                                                  Reaffirmation Agreement.
                                                                                     D   Retain the property and [explain): _ _ __



          Creditor's                                                                 D Surrender the property.                       DNo
          I'.~'Tl~.~U~-·--~~-~-~---M~~------W"-·MO U>W-om•~·---···,~·------··UOM"    D Retain the property and redeem it.            DYes
          Description of
          property                                                                   D Retain the property and enter into a
          securing debt                                                                  Reaffirmation Agreement.
                                                                                     1:1 Retain the property and [explain]: _ _ __


   Official Form 108                          Statement Ot Intention for Individuals Filing Under Chapter 7                                     page 1
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Debtor 1           Thanh Van Nguyen                                                          Case number (If k n o w n ) ' - - - - - - - - - - - - - -
                fut Name        Middle Name     Last Name




                   List Your Unexpired Personal Property Leases

    For any unexpired personal property lease that yOu listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
    fill in the Information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
    ended. You may assume an unexpired ,personal property lease if the trustee does not assume it. 11 U.S.C.· § 365(p)(2).
I
                                                                                                                     DNo

       Description of leased 2018 Toyota Camry
                                                                                                                     iii" Yes
       property:


       Lessor's name:                                                                                                DNo
                                                                                                                     DYes
       Description of leased
       property:


       Lessor's name:                                                                                                D   No

       Description of leased                                                                                         D   Yes
       property:


       Lessor's name:                                                                                                D No
                                                                                                                     DYes
       Description of leased
       property:


       Lessor's name:                                                                                                DNo
                                                                                                                     DYes
       Description of leased
       property:


       Lessor's name:                                                                                                DNo
                                                                                                                     DYes
        Description of leased
       property:


       Lessor's name:                                                                                                DNo
                                                                                                                     DYes




                   Sign Below



      Under penalty of perjury, I declare that I have indicated my intention about any property Of my estate that secures a debt and any
      personal property t t is subject to an unexpired lease.




Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                            page 2
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B2030 (Form 2030) (12/15)




                               United States Bankruptcy Court
                                  CENTRAL DISTRICT OF CALIFORNIA


In re

            Thanh Van Nguyen & Ngocyen Thi Pham                            CMeNo. ________________

Debtor                                                                     Chapter -'-7_______________

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

I.   Pursuant to II U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certifY that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy Case is as follows:

     For legal services, I have agreed to accept. ............................. $_____1=5~0~0,.0=0

     Prior to the filing of this statement I have received . . ...................... $______1~·~5~0~0~.0=0

     Balance Due ......... , ............................................ $________.cO,.-oo,o

2.   The source of the compensation paid to me was:

          llZ!l Debtor               IDJ Other(specify}

3.   The source of compensation to be paid to me is:

          IDJDebtor                  0    Other (specifY)

4.         i!Z!li have. not agreed to shar~ the above-disclosed compensation with any other person unless they are
           members and associates of my law firrri.

          0    I have agreed to share the-above-disclosed compensation with a other person or persons who are not
          ' members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for aU aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor, s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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     d.   Re~resefllalien   eflhe Eie!Jtar ia aa·,•ersary praeeedi•gs aad ether eeRtested baakr"Ptey matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
      Representation in any adversary" or contested proceedings.




                                                       CERTIFICATION

              I certify that the foregoing is a complete statemen       y ag~eme~t or arrangement for payment to
           me for-representation ofthe debtor(s) in this ban r tc ·,.   ooedm.f5.-···+-·

            O'o jill~')
           Date

                                                 Law Offices of Kathy T. Luong, Esq.
                                                   Name of law firm
          Case 8:19-bk-12325-TA                       Doc 1 Filed 06/17/19 Entered 06/17/19 22:11:50                                         Desc
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                                                                          .




Attorney or Party Name, Address, Telephone & FAX                                 FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Kathy T. Luong, Esq., SBN: 253044
Law Offices of Kathy T. Luong, Esq.
10141 Westminster Avenue, Suite 201
Garden Grove, CA 92843
Telephone: (714)590-3738
Fax: (714) 590-2288
Email: kathy@ktulaw.com




                                           UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA- SANTA ANA DIVISION
                  '
 In re:                                                                          CASE NO.:
                                                                                 CHAPTER: 7


Thanh Van Nguyen & Ngocyen Thi Pham
                                                                                            DEBTOR'S ATTORNEY'S
                                                                                        DISCLOSURE OF COMPENSATION
                                                                                         ARRANGEMENT IN INDIVIDUAL
                                                                                              CHAPTER 7 CASE
                                                                                                         · [LBR 2090-1(a)(3)]
                                                                  Debtor(s).

1.   Compensation Arrangement. Pursuant to 11 U.S.C. § 329(a), FRBP 2016(b), and LBR 2090-1(a)(3) and (4),
     I disclose that:
     a.    I am the attorney for the Debtor.
     b.    Compensation that was paid to me, within one year before the petition was filed, or was agreed to be paid to me,
           for services rendered or to be rendered on behalf of the Debtor in contemplation of or in connection with this
           bankruptcy case, is as follows:
           i.     For legal services, I have agreed to accept Dan hourly rate of$ _ _ _ _ ;, or a jgi flat fee of $1500.00
           ii. ~ Prior to filing this disclosure I received $1500 00
           iii. ~ The balance due is $._,o"'.o.,o,___ _
2. Source of Compensation Paid Postpetition (Postpetition Compensation).
     a.    Already Paid. The source(s) of the Postpetition Compensation paid to me was:
           0      Debtor(s)         D   Other ( s p e c i f y ) : - - - - - - - - - - - - - - - - - - - - - - -

     b.    To be Paid. The source(s) of the Postpetition Compensation to be paid to me is:
           D Debtor(s)              D Other ( s p e c i f y ) : - - - - - - - - - - - - - - - - - - - - - - -
3.   Sharing of Compensation Paid Postpetition.
     D     I have not agreed to share Postpetition Compensation with any other person unless they are members or regular
           associates of my law firm within the meaning of FRBP 9001 (1 0).
     D     I have agreed to share Postpetition Compensation with other person or persons who are not members or regular
           associates of my law firm within the meaning of FRBP 9001 (1 0) .. Attached as Exhibit A is a copy of the
           agreement and a list of the names of the people sharing in the Postpetition Compensation.

                This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December.2015                                                                 Page 1                         F 2090-1.CH7.ATTY.COMP.DISCLSR
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4.   Limited Scope of Services. A limited scope of appearance is permitted under LBR 2090-1(a)(3), unless otherwise
     required by the presiding judge. In return for the fee disclosed above, I have agreed to provide the required legal
     services indicated below in paragraph "a", and, if any are indicated, the additional services checked in
     paragraph "4.b".
      a.    Services required to be provided:
            i. Analysis of the Debtor's financial situation, and advice to the Debtor in determining whether to file a
               bankruptcy petition;
             ii.    Preparation and filing of any petition, lists, schedules and statements and any other required case
                    commencement documents; and
            iii. Representation of the Debtor at the initial § 341 (a) meeting of creditors.
      b.    0       Additional legal services I will provide:
             i.     0   Any proceeding related to relief from stay motions.
             ii.    0   Any proceeding involving an objection to the Debtor's discharge pursuant to 11 U.S. C. §727.
             iii.   0   Any proceeding to determine whether a specific debt is nondischargeable under 11 U.S.C. § 523.
             iv.    0   Reaffirmation of a debt.
            v.      0   Any lien avoidance under 11 U.S.C. § 522(1)
            vi.     0   Other (specify):




5.    If in the future I agree to represent the Debtor in additional matters, I will complete and file the Attorney's Disclosure
      of Postpetition Compensation, LBR form F 2016-1.4.ATTY.COMP.DISCLSR.

                                       DECLARATION OF ATTORNEY FOR THE DEBTOR
                  I declare under penalty of perjury that the foregoing is a complete statement of any agreement or
           arrangement for payment to me for representa ·   f the Debtor in this bankruptcy case


             Date: (()\q 1I 1j~"'
                                                 Signature o                      the Debtor
                                                 Kathy T. Luong. Esq.
                                                 Printed name of attorney
                                                 Law Offices of KathY T. Luong, Esq.
                                                 Printed name of law firm


                                                     DECLARATION OF THE DEBTOR
                   1/we declare under penalty of perjury that my attorney has explained to me/us the limited scope of
           representation as outlined above. 1/we understand that 1/we have paid or agreed to pay solely for the required
           services listed in paragraph 4a, and the additional services (if any) that are checked off in paragraph 4b
           above, and that 1/we am representing myself/ourselves for any other proceedings unless a new agreement is
           reached with n all rney.

             Date:
                        6   I~ I~                                                                +}-'-')ft-1--1,/ f Uf
                                                                                  Date: -__.:,£_' I



            Signature of Debtor 1                                                 Signature of Debtor 2 ·oint Debtor)(if applicable)
            Thanh Van Nguyen                                                      Ngocyen Thi Pham
            Printed name of Debtor 1                                              Printed name of Debtor 2


            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for .the Central District of California.

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Attorney or Party Name, Address, Telephone & FAX                              FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Kathy T. Luong, Esq., SBN: 253044
Law Offices of Kathy T. Luong, Esq.
10141 Westminster Avenue, Suite 201
Garden Grove, CA 92843
Telephone: (714) 590-3738
Fax: (714) 590-2288
Email: kathy@ktul<wcom
                                                                                                      '




!J Debtor(s) appearing without an attorney
~ Attorney for Debtor(s)
                                           UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA- SANTA ANA DIVISION

 In re:                                                                       CASE NO.:
                                                                              CHAPTER: 7

                                                                                     DECLARATION BY DEBTOR(S)
                                                                                AS TO WHETHER INCOME WAS RECEIVED
 Thanh Van Nguyen & Ngocyen Thi Pham                                            FROM AN EMPLOYER WITHIN 60 DAYS OF
                                                                                         THE PETITION DATE
                                                                                              [11 U.S.C. § 521(a)(1}(B)(iv)]

                                                                                                          [No hearing required]
                                                               Debtor(s).

Debtor(s) provides the following declaration(s) as to whether income was received from an employer within 60 days of the
Debtor(s) filing this bankruptcy case (Petition Date), as required by 11 U.S.C. § 521(a)(1)(B)(iv):

Declaration of Debtor 1

1.   ~ I am Debtor 1 in this case, and I declare under penalty of perjury that the following information is true and correct:

           During the 60-day period before the Petition Date (Check onlv ONE box below):

           ~ I was paid by an employer. Attached are copies of all statements of .earnings, pay stubs, or other proof of
             employment income I received from my employer during this 60-day period. (If the Debtor's social security
             number or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
             number(s) before filing this declaration.)

           D    I was not paid by an employer because I was either self-employed only, or not employed.




Date:
          ~
           b/ ~  J     ) {   t1I Thanh  Van Nguyen
                                 ------=P~rin~t~ed~na_m__e_o~fD=e~b~t-or-1~----                                Signature of Debtor 1


           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Declaration of Debtor 21Joint Debtor) (if applicable)

2.   ~ I am Debtor 2 in this case, and I declare under penalty of perjury that the following information is true and correct:

         During the 60-day period before the Petition Date (Check only ONE box below):

         0   I was paid by an employer. Attached are copies of all statements of earnings, pay stubs, or other proof of
             employment income I received from my employer during this 60 day period. (If the Debtor's social security
             number.or bank account is on a pay stub or other proof of income, the Debtor must cross out (redact) the
             number(s) before filing this declaration.)

         ~ I was not paid by an employer because I was either self-employed only, or not employed.




Date:CJ II fit IJf9          Ngocyen Thi Pham
                                                                                                   -
                                   Printed name of Debtor 2                                                   Signature of Debtor 2




        This form is mandatory. It has been approved for use in the .United States Bankruptcy Court for the Central District of California.

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                                                               Long Beoob, CA 90806

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 Ftll m thts mformatton to tdenttfy your case:                                                           Check one box only as directed         m thiS form and m
                                                                                                         Form 122A-1 Supp:
 Debtor 1              Thanh Van Nguyen
                        First Name                 Middle Name               Lastt-lame
                                                                                                         ~     1. There is no·presumption of abuse.
 Debtor 2               Ngocyen Thi Pham
 (Spouse, if filing)    First Name                 Middle Name               Last Name                   D     2. The calculation to determine if a presumption of
                                                                                                                  abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Central District of California                                           Means Test Calculation (Official Form 122A-2).
 Case number                                                                                             D     3. The Means Test does not apply now because of
 (If known)                                                                                                       qualified military service but it could apply later.



                                                                                                         1:1 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a· presumption of abuse because you
do not have primarily -consumer debts or ·because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under§ 707(b}(2) {Official Form 122A-1Supp) with this form.

                  Calculate Your           C~rrent   Monthly Income

 1. What is your marital and filing status? Check one only.
      D      Not married. FiHoutColumnA, lines2-11.
      liZI   Married and your spouse is filing with you. Fill out both Columns A and B, lines 2~ 11.

      D      Married and your spouse is NOT filing with you. You and Your spouse are:

             D         Living in the same household and are not legally separated. Fill out. both Columns A and B, lines 2-11.
             0         living separately or are legally separated. Fill out Column A, lines 2-11;·do not fill out Column B. By checking this box, you declare
                       under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or. that you and your
                       spouse ar~ living apart for reasons that do not include evading the Means Test requirements .. 11 U.S.C. § 707(b)(7)(B).




 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                     $ 1.320.00             $         0.00
 3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                               $          0.00        $         0.00
 4. All. amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support•. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only If Column B is not
    filled in. Do not include payments you listed on line 3.                                               $          0.00        $         0.00
 5. Net income from operating a business, profession,
      or farm
      Gross receipts (before all deductions)
      Ordinary and necessary operating expenses                             -$_ _         -$_ _
      Net monthly          inc~me    from a business, profession, or farm                                             0.00                  0.00
                                                                                                           $                      $
 6. Net income from rental and other real property
      Gross receipts (befOre all deductions)
      Ordinary and necessary operating expenses                             -$_ _ -$_ _
      Net monthly income ·from rental or other real property                                      Copy
                                                                             $ 0.00        $~0here-+       $          0.00        $         0.00
 7. Interest, dividends, and royalties                                                                     $          0.00        $         0.00


Official Form 122A-1                                  Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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Debtor 1                                                                                                   Case number (it known) _ _ _ _ _ _ _ _ _ _ _ _ __
                   FlratNome             Midd&Name          Last Name




 8. Unemploymentcompensation                                                                                    $._ _---'0"-.0"-'0           $._   __,0"'.0""0
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security A.ct. Instead, list it here: ............................... "'
           For you..     ....... ..........                                  $         0.00
           For your spouse..                                                 $         0.00
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                      $_ __:::0".0"0               $._ _       -"'o"'"'.o"'o
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity; or international or domestic
     terrorism. If necessary, list other sources on a separate page. and put the total below.

       Food Stamps                                                                                              $          0.00              $._   _,3"'53,.0"'0
       Assistance from Family                                                                                   $          0.00              $._   _,2=50=.0=0
      Total amounts from separate pages, if any.                                                             +$            0.00          +$             0.00

 11. Calculate your total current monthly Income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                     [ $      1,32o.ooi+G-6~J=I$                                          1,923.ool
                                                                                                                                                                             Total current
                                                                                                                                                                             monthly Income

                   Determine Whether the Means Test Applies to YOu

 12. Calculate your current monthly income for the year. Follow these steps:
     12a       Copy your total current monthly income from line 11.                                                     ............. Copy line 11 here+           1..   $    1.923.0[]
               Multiply by 12 (the number of months in a year).                                                                                                          X    12
     12b.      The result is your annual income for this part of the form.                                                                               12b.l           $ 23   Oz600J
 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                                   jCalifornia       "]

      Fill in the number of people in your household.                       E                      ~
      Fill in the median family income for your state and size of household.                                                                       ....... 13.           $77,167.00
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk's office.
 14. How do the lines compare?

     14a.    iii   Line 12b is' less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse:
                   Go to Part 3.

     14b.    D     Line 12b is more than line 13. On the top of page 1' check box 2, The presumption of abuse is determined by Form 122Aw2,
                   Go to Part 3 and fill out Form 122A-2.

                   Sign Below

                                                     Under penalty of perjury that the information on this statement and in any attachments is true and correct.



                                                                                                         Signature of Debtor 2       ·


                                                                                                         Date   h J /4
                                                                                                                MM/DD       /YYW
                                                                                                                                 J / C,
                                                                                                                                         (

                       If you checked line 14a, do NOT fill out or file Form 122A-2.
                       If you checked line 14b, fill out Form 122A-2 and file it Wllh this form.


Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                     page 2
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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Kathy T. Luong, Esq., SBN: 253044
 Law Offices of Kathy T. Luong, Esq.
 10141 Westminster Avenue, Suite 201
 Garden Grove, CA 92843
 Telephone: (714) 590-3738
 Fax: (714) 590-2288
 Email: kathy@ktulaw.com




 D    Debtor(s) appearing without attorney
 cgj Attorney for Debtor
                                          UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA -SANTA ANA DIVISION

 In re:                                                                      CASE NO.:
                                                                             CHAPTER.: 7




 Thanh Van Nguyen & Ngocyen Thi Pham
                                                                                          VERIFICATION OF MASTER
                                                                                         MAILING LIST OF CREDITORS
                                                                         .
                                                                                                     [LBR 1007-1(a)]



                                                             Debtor(s).



Pursuant to LBR 1007-1 (a), the Debtor, or the Debtor's attorney if applicable, certifies under
penalty of perjury that the master mailing list of creditors filed in this bankruptcy case, consisting of
_2_ sheet(s) is complete, correct, and consistent with the Debtor's schedules and 1/we assume all
responsibility for errors and omissions.


Date:     -~·+--/I
                 Y~/ [~--1---
Date:
              r    \
          ~G~(/4lf-;)~1CfL....__
                                                                             Signature of Debtor 1
                                                                                                        ---
                                                                                                         r 2 (i()int debtor) (if applicable)

Date:     No 1t?j ~
               I



            This fonn is optional. 1t has been approved for use in the United States Bankruptcy Court for the Central District of California

 December 2015                                                                                       F 1007-1.MAILING.LIST.VERIFICATION
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Nguyen, rhanh Van
14300 Clinton Street, Space 103
Garden Grove, CA 92843

Pham, Ngocyen Thi
14300 Clinton Street, Space 103
Garden Grove, CA 92843

Kathy T. Luong, Esq.
10141 Westminster Avenue, Suite 201
Garden Grove, Ca 92843

United States Trustee
411 W. 4th Street
Santa Ana, CA 92701
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21st Mortgage
620 Market Street, Suite 100
Knoxville, TN 37902

Bank of America
P.O. Box 982238
El Paso, TX 79998

Bill Nguyen
14300 Clinton Street, Space 103
Garden Grove, CA 92843

Capital One
P.O. Box 30285
Salt Lake City, UT 84130

Capital One Auto Finance
P.O. Box 259407
Plano, TX 75025

Citi
P.O. Box 6190
Sioux Falls, SD 57117

SYNCB/Care Credit
P.O. Box 965036
Orlando, FL 32896

Toyota Motor Credit
P.O. Box 9786
Cedar Rapids, IA 52 411

U.S Bank
P.o. Box 108
St. Louis, MO 63166

US Dept. of ED/GLELSI
P.O. Box 7860
Madison, WI 53707

Wells Fargo Card Services
P.O. Box 14517
Des Moines, IA 50306
